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                           Name                              Attention                             Address 1                                       Address 2             City    State     Zip   Country
   0859879 B.C. LTD.                      ATTN: LEGAL DEPT                      2576 COPPER RIDGE PLACE                                                        WEST KELOWNA     BC     V4T 2X6   CANADA
   1000025109 ONTARIO INC.                ATTN: LEGAL DEPT                      205-3040 NEW STREET                                                            BURLINGTON       ON     L7M1N5    CANADA
   1000359120 ONTARIO INC                 ATTN: LEGAL DEPT                      779 2ND AVE EAST                                                               OWEN SOUND       ON     N4K2G9    CANADA
   102439 P.E.I. INC.                     ATTN: LEGAL DEPT                      14 ST. PETERS RD                                                               CHARLOTTETOWN    PE     C1A5N3    CANADA
   1040 LLC                               ATTN: JASON WILLIAMS                  4225 AZALEA CIRCLE                                                             ERIE             PA     16506
   1051844 ALBERTA INC.                   ATTN: LEGAL DEPT                      658 MERRILL DRIVE N.E.                                                         CALGARY          AB     T2E 8Y6   CANADA
   1094510 B.C. LTD                       ATTN: LEGAL DEPT                      102-14888 104 AVE                                                              SURREY           BC     V3R1M4    CANADA
   11088238 CANADA INC.                   ATTN: LEGAL DEPT                      9-1289 MARLBOROUGH COURT                                                       OAKVILLE         ON     L6H2R9    CANADA
   11637339 CANADA INC.                   ATTN: LEGAL DEPT                      972 HAMILTON ROAD UNIT 16                                                      LONDON           ON     N5W1V6    CANADA
   11662112 CANADA INC.                   ATTN: LEGAL DEPT                      346 PANHELLENIC DRIVE                                                          MISSISSAUGA      ON     L5W0B9    CANADA
   11662554 CANADA INC.                   ATTN: LEGAL DEPT                      7-279 YONGE STREET                                                             BARRIE           ON     L4N7T9    CANADA
   12536846 CANADA CORP                   ATTN: LEGAL DEPT                      346 PANHELLENIC DRIVE                                                          MISSISSAUGA      ON     L5W0B9    CANADA
   12591961 CANADA INC.                   ATTN: LEGAL DEPT                      205-3040 NEW ST                                                                BURLINGTON       ON     L7M1N5    CANADA
   13429300 CANADA INC.                   ATTN: LEGAL DEPT                      631 WINDBROOK HEIGHTS SW                                                       AIRDRIE          AB     T4B3V9    CANADA
   1365043 ONTARIO LTD                    ATTN: LEGAL DEPT                      29 ELGIN STREET                                                                TRENTON          ON     K8V 3X7   CANADA
   14586867 CANADA INC.                   LIBERTY TAX SERVICE (HAMILTON)        19 KING STREET                                                                 HAMILTON         ON     L8N 1A1   CANADA
   1498789 ONTARIO INC.                   ATTN: LEGAL DEPT                      61 DUNDAS ST WEST                                                              MISSISSAUGA      ON     L5B 1H7   CANADA
   1548004 ONTARIO INC.                   LIBERTY TAX SERVICE                   375 EXMOUTH ST.                                                                SARNIA           ON     N7T 5N8   CANADA
   1562306 ALBERTA LTD.                   ATTN: LEGAL DEPT                      12912 - 97TH ST.                                                               EDMONTON         AB     T5E4C3    CANADA
   1569710 ALBERTA LTD.                   ATTN: LEGAL DEPT                      BOX 1450                                                                       BROOKS           AB     T1R1C3    CANADA
   1684224 ALBERTA LTD.                   ATTN: LEGAL DEPT                      102-4510 VALIANT DR NW                                                         CALGARY          AB     T3A0X9    CANADA
   1854600 ALBERTA LTD.                   ATTN: LEGAL DEPT                      350-55 SALISBURY WAY                                                           SHERWOOD PARK    AB     T8B0A9    CANADA
   1898370 ONTARIO INC.                   ATTN: LEGAL DEPT                      10 ST. COLUMBA DR                                                              ST. CATHARINES   ON     L2N3G3    CANADA
   1972778 ONTARIO INC.                   ATTN: LEGAL DEPT                      283 TOWN LINE RD. E.                                                           DESBARATS        ON     P0R1E0    CANADA
   1981312 ONTARIO INC.                   ATTN: LEGAL DEPT                      251 DAVIS DR                                                                   NEWMARKET        ON     L3Y2N5    CANADA
   2 GIRLS & A GUY TAX & BOOKKEEPING      ATTN: MARK WILLIAMS                   123 S HERLONG AVE                                                              ROCK HILL        SC     29732
   2003706 ALBERTA LTD.                   ATTN: LEGAL DEPT                      230 SCOTIA PT NW                                                               CALGARY          AB     T3L2B1    CANADA
   2049580 ALBERTA LTD.                   ATTN: LEGAL DEPT                      71 EVANSRIDGE CRESCENT NW                                                      CALGARY          AB     T3P0J2    CANADA
   2078819 ALBERTA INC.                   ATTN: LEGAL DEPT                      197 RUE MONIQUE                                                                BEAUMONT         AB     T4X0A1    CANADA
   2083317 ONTARIO LTD.                   ATTN: LEGAL DEPT                      20 HARWOOD AVE S                                      UNIT 1A                  AJAX             ON     L1S 6N2   CANADA
   2117408 ALBERTA LTD.                   ATTN: LEGAL DEPT                      BOX 2162                                                                       SLAVE LAKE       AB     T0G2A0    CANADA
   2159960 ONTARIO INC.                   ATTN: 2159960 ONTARIO INC.            1-100 MCQUEEN BLVD                                                             FERGUS           ON     N1M3T8    CANADA
   2311892 ONTARIO LTD.                   ATTN: LEGAL DEPT                      933103 AIRPORT ROAD                                                            MONO             ON     L9W6C7    CANADA
   2482972 ONTARIO INC.                   ATTN: LEGAL DEPT                      126 COASTLINE DR.                                                              BRAMPTON         ON     L6Y0S4    CANADA
   2538852 ONTARIO INC.                   ATTN: LEGAL DEPT                      5 ALTURA WAY                                                                   BRAMPTON         ON     L6P4A2    CANADA
   2657777 ONTARIO CORPORATION            ATTN: LEGAL DEPT                      24 PINEDALE AVENUE                                                             CALEDON          ON     L7C3Z5    CANADA
   2677184 ONTARIO INC.                   ATTN: LEGAL DEPT                      212 ZOKOL DRIVE                                                                AURORA           ON     L4G0B8    CANADA
   2701856 ONTARIO INC.                   ATTN: LEGAL DEPT                      81 TOVELL DRIVE                                                                GUELPH           ON     N1K1Z5    CANADA
   2719645 ONTARIO INC.                   ATTN: LEGAL DEPT                      481 TALBOT STREET                                                              ST. THOMAS       ON     N5P1C3    CANADA
   2728473 ONTARIO INC.                   ATTN: LEGAL DEPT                      207 KING STREET WEST                                                           KITCHENER        ON     N2G1B1    CANADA
   2761645 ONTARIO INC.                   ATTN: LEGAL DEPT                      180 TEMPERANCE ST W                                                            WATERFORD        ON     N0E1Y0    CANADA
   3229328 NOVA SCOTIA LIMITED            ATTN: LEGAL DEPT                      3 DUNCAN AVE                                                                   KENTVILLE        NS     B4N1N3    CANADA
   3438562 CANADA INC.                    ATTN: LEGAL DEPT                      PO BOX 545                                                                     NORTH SYDNEY     NS     B2A3M5    CANADA
   3G TAX CORP                            ATTN: JENEEN GIANNANDREA              35 ROGERS CIRCLE                                                               BRAINTREE        MA     02184
   4 REAL PARTNERS                        ATTN: JEROME DICKERSON                7210 N HEARTHSTONE GREEN DR                                                    HOUSTON          TX     77095
   5 STAGES BUSINESS SERVICES LLC         ATTN: DAWN PORTHOUSE                  94 STELLA ROAD                                                                 BELLINGHAM       MA     02019
   6108261 CANADA INC                     ATTN: LEGAL DEPT                      110-360 CROYDON AVENUE                                                         OTTAWA           ON     K2B8A4    CANADA
   6447741 CANADA LTD                     ATTN: LEGAL DEPT                      206 CHANDOS DR                                                                 KITCHENER        ON     N2Z 3Z6   CANADA
   684547 NB INC.                         ATTN: LEGAL DEPT                      98 REGIMENT CREEK AVE.                                                         FREDERICTON      NB     E3G0G3    CANADA
   695455 ALBERTA LTD.                    ATTN: LEGAL DEPT                      317 FIRST AVENUE                                                               SPRUCE GROVE     AB     T7X3X2    CANADA
   699647 N.B. LTD.                       ATTN: LEGAL DEPT                      994 ST. PETER AVE                                                              BATHURST         NB     E2A2Z4    CANADA
   7220901 MANITOBA LTD.                  ATTN: LEGAL DEPT                      7 WILLOW BROOK ROAD                                                            WINNIPEG         MB     R3Y0N7    CANADA
   726836 N.B. LTD.                       ATTN: LEGAL DEPT                      373 BRIDGE ST                                                                  MINTO            NB     E4B2X5    CANADA
   734150 ALBERTA LTD                     ATTN: LEGAL DEPT                      126-7015 MACLEOD TRAIL SW                                                      CALGARY          AB     T2H2K6    CANADA
   7494336 MANITOBA INC                   ATTN: LEGAL DEPT                      100-1240 ELLICE AVENUE                                                         WINNIPEG         MB     R3G0E8    CANADA
   798 TREMONT                            AINI & ASSOCIATES PLLC                2615 CONEY ISLAND AVENUE                              ARIEL A. BIVAS           BROOKLYN         NY     11223
   81012XX18 LLC                          ATTN: JULIE STRUNZ                    3233 THORTON DR                                                                JANESVILLE       WI     53548
   916719 ALBERTA LTD.                    ATTN: LEGAL DEPT                      150 EAST DRIVE                                                                 SASKATOON        SK     S7J2X6    CANADA
   919 INVESTMENTS LLC                    ATTN: SAM COTTONE                     919 RIVER COURT                                                                WYANDOTTE        MI     48192
   A & E TAX SERVICE LLC                  ATTN: EDWARD WELCH                    153 S LAKE AVE                                                                 ALBANY           NY     12208
   A & V TAXES WESTCHESTER INC.           ATTN: RATTANDEEP SINGH                71 SHOREVIEW DR. APT. 2                                                        YONKERS          NY     10701
   A FELDMANN TAX SERVICE LLC             ATTN: ALANN FELDMANN                  3700 CYNTHIANA RD                                                              WILLIAMSTOWN     KY     41097
   A NEW ENDEAVOR LLC                     ATTN: ANGIE CURTIS                    S95W12951 HARRY VARDON CT                                                      MUSKEGO          WI     53150
   A PLUS TAX SERVICE LLC                 ATTN: PAMELA WILSON                   127 BRICK STREET                                                               PRINCETON        WV 24740
   A TEAM TAX AND FINANCIAL SVCS INC.     ATTN: RON GATLIN                      91-1020 OKUPE STREET                                                           EWA BEACH        HI     96706
   A&F TAXES INC.                         ATTN: HAMEEDA WAHAB JUNAGADHWALA      4901 GOLF RD APT 201                                                           SKOKIE           IL     60077
   A5 INC.                                ATTN: JACK WILLIAMS                   8300 E REGENTS RD                                                              PALMER           AK     99645
   AA OPTIMAL TAX & ACCOUNTING            ATTN: LEGAL DEPT                      2164 STILLMEADOW ROAD                                                          OAKVILLE         ON     L6M3R1    CANADA
   AALA ENTERPRISE LLC                    ATTN: LAILA JASANI                    4701 GLACIER BAY LANE                                                          COLLIERVILLE     TN     38017
   AAR 5 STARS TAX PREP SERVICES LLC      ATTN: ADEELA AKBAR                    746 RIFTON STREET                                                              ELMONT           NY     11003
   AARON KIOUS                                                                  ADDRESS ON FILE


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                           Name                              Attention                                   Address 1                                      Address 2                City   State      Zip   Country
   AARON SAVAGE                                                                       ADDRESS ON FILE
   ABDELRAZAK KASSIM                                                                  ADDRESS ON FILE
   ABDOU SAMB                                                                         ADDRESS ON FILE
   ABM TAX GROUP LLC                      ATTN: BRIAN FRIEDMAN                        1 HUGGINS LANE                                                                   MANALAPAN        NJ      07726
   ABRAHAM MARTINEZ                                                                   ADDRESS ON FILE
   ABREU LEOPOLDO DURAN                                                               ADDRESS ON FILE
   ABWALLER LLC                           ATTN: ANTHONY WALLER                        3915 HICKORY VIEW                                                                HARKER HEIGHTS   TX      76548
   ACAI SERVIES INC                       ATTN: SYED EKRAM                            750 OAKWOOD DR                                                                   WESTMONT         IL      60559
   ACCOUNT.IT LLC                         ATTN: JOHN SMITH                            514 BRIARWOOD DR                                                                 EDEN             NC      27288
   ACCRESCENT FINANCIAL LTD.              ATTN: LEGAL DEPT                            64 BROADWAY AVE                                                                  ORANGEVILLE      ON      L9W1J9   CANADA
   ACE ADVANCED SERVICES LLC              ATTN: JAMIE BIESKE                          4870 FLEETWOOD LANE                                                              JACKSON          MI      49201
   ACE TAX SERVICE LLC                    ATTN: SAIRA DHANANI                         319 HAMLETS END WAY                                                              FRANKLIN         TN      37067
   ADAMANDA INC.                          ATTN: DONNA LYNCH                           726 E MAIN ST STE C                                                              LEBANON          OH      45036
   ADE L LEWIS                                                                        ADDRESS ON FILE
   ADELA QUIROZ-PEREZ                                                                 ADDRESS ON FILE
   ADRIANA MOSQUEDA                                                                   ADDRESS ON FILE
   ADT TAX AND ACCOUNTING INC             ATTN: JAMI WALLING                          125 RABBIT RUN DR                                                                WILLIAMSON       WV      25661
   AFFORDABLE TAXES INC                   ATTN: ZAFAR BHURYA                          5509 N. BROADWAY                                                                 CHICAGO          IL      60640
   AGNANT ALEXIA                                                                      ADDRESS ON FILE
   AGUILAR AGUILAR -ATENCIO & ATENCIO                                                 ADDRESS ON FILE
   AGUSTIN LOPEZ                                                                      ADDRESS ON FILE
   AHL ACCOUNTED IV LLC                   ATTN: JUANITA AHL                           131 SPRING BRANCH                                                                DUNN             NC      28334
   AKBS LLC                               ATTN: CHERYL LABRIE                         16744 NICKLEEN STREET                                                            ANCHORAGE        AK      99516
   ALAMO TAX SERVICES LLC                 ATTN: SALMAN MAKNOJIA                       4213 SAGINAW LN                                                                  CARROLLTON       TX      75010
   ALAN J. LORANDEAU JR                                                               ADDRESS ON FILE
   ALAN S. TO                                                                         ADDRESS ON FILE
   ALBERTO TAPIA                                                                      ADDRESS ON FILE
   ALDEMARO MEYNARD & ERI MEYNARD                                                     ADDRESS ON FILE
   ALEJANDRINA JIMENEZ                                                                ADDRESS ON FILE
   ALEJANDRO AND JOSE LUCIO                                                           ADDRESS ON FILE
   ALEXANDRA AND LEONARD GRANT                                                        ADDRESS ON FILE
   ALISON HOLLAND                                                                     ADDRESS ON FILE
   ALIYA AKHTAR                                                                       ADDRESS ON FILE
   ALL THAT IS CERTAIN LLC                ATTN: LISA WILLI                            832 S ONEIDA ST                                                                  GREEN BAY        WI      54304
   ALLEN TEPLITZ                                                                      ADDRESS ON FILE
   ALOHA TAX CORP.                        ATTN: CONSTANCE ROJCEWICZ                   442A WAINAKU ST                                                                  HILO             HI      96720
   ALTON COROTAN                                                                      ADDRESS ON FILE
   ALYSIA L. KRAMER                                                                   ADDRESS ON FILE
   AMANDA & TAVARUS YOUNG                                                             ADDRESS ON FILE
   AMBAR DOMINGUEZ                                                                    ADDRESS ON FILE
   AMBER N TEJADA                                                                     ADDRESS ON FILE
   AMEERAH S. ADEJOLA                                                                 ADDRESS ON FILE
   AMERICA ENTERPRISE INC                 ATTN: CHUNGMAN HO                           51 S. GARFIELD AVE                                                               ALHAMBRA         CA      91801
   AMERICAN TAX LLC                       ATTN: DAVID ALVARANGA                       3905 BENNING ROAD NE                                                             WASHINGTON       DC      20019
   AMERICAN TAX SERVICES INC.             ATTN: ARTHUR GUARINO                        108 STEPHANIE LANE                                                               YORKTOWN         VA      23692
   AMJAD GHAFOOR                                                                      ADDRESS ON FILE
   ANA CHACON                                                                         ADDRESS ON FILE
   ANABEL CAMPUSANO                                                                   ADDRESS ON FILE
   ANANDPUR BUSINESS SOLUTIONS INC.       ATTN: KUNAL DEWAN                           225 SIMI VILLAGE DR 940381                                                       SIMI VALLEY      CA      93094
   ANDREA M. RUSSELL                                                                  ADDRESS ON FILE
   ANDREA YOUNG BOOTHE                                                                ADDRESS ON FILE
   ANDREW R. SMITH                                                                    ADDRESS ON FILE
   ANDREW SMOLEN                                                                      ADDRESS ON FILE
   ANDREY ZAHARIEV                                                                    ADDRESS ON FILE
   ANGELA BYRD                                                                        ADDRESS ON FILE
   ANGELA COLEMAN                                                                     ADDRESS ON FILE
   ANGELA PENN                                                                        ADDRESS ON FILE
   ANGELINA COUNTY                        C/O LINEBARGER GOGGAN BLAIR ET AL           PO BOX 3064                                           ATTN: TARA L. GRUNDEMEIR   HOUSTON          TX      77253-
   ANGIE AMADOR                                                                       ADDRESS ON FILE
   ANGIE FINLEY                                                                       ADDRESS ON FILE
   ANJ INVESTMENTS INC                    ATTN: MANISHA JAISWAL                       520 S. SLAPPEY BLVD                                                              ALBANY           GA      31721
   ANNE WURST                                                                         ADDRESS ON FILE
   ANNETTE FLORES                                                                     ADDRESS ON FILE
   ANTHONY PERRI                                                                      ADDRESS ON FILE
   APRIL SCANLAN                                                                      ADDRESS ON FILE
   ARACELI SANCHEZ                                                                    ADDRESS ON FILE
   ARIA TAX LLC                           ATTN: AMIN CHARANIA                         2806 WINTER GORGE                                                                SAN ANTONIO      TX      78259
   ARIANA MURRELL                                                                     ADDRESS ON FILE
   ARIDYL FINANCIAL SERVICES LLC          ATTN: TELOTAMA GOOLCHARRAN                  4 ROCCO DRIVE                                                                    EAST LYME        CT      06333
   ARIZONA TAX ASSOCIATES LLC             ATTN: MICHAEL LEPORE                        29685 N 71ST PLACE                                                               SCOTTSDALE       AZ      85266
   ARTHUR L. HALL                                                                     ADDRESS ON FILE


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                         Name                                  Attention                                  Address 1                                       Address 2                         City      State      Zip    Country
   ASHISH POKHAREL                                                                      ADDRESS ON FILE
   ASHLEIGH D. WINDLE                                                                   ADDRESS ON FILE
   ASSOCIATES NOTARY PUBLIC CORP          ATTN: MARISA ARREOLA                          2627 EL INDIO HWY                                                                        EAGLE PASS           TX      78852
   AUDREY L. MCINTYRE                                                                   ADDRESS ON FILE
   AV TAXES & ACCOUNTING SERVICES INC     ATTN: ANTHONY VARGAS                          345 NE 37TH PLACE                                                                        HOMESTEAD            FL      33033
   AVTECH CAPITAL LLC.                    ATTN: LEGAL DEPT                              6995 UNION PARK CENTER 4TH FLOOR                                                         COTTONWOOD HEIGHTS   UT      84047
   AYRON SOLUTIONS LLC                    ATTN: AARON SMOLINSKY                         6207 STONEBROOK DR.                                                                      SANFORD              FL      32773
   AZUSA CANYON ENTERPRISES LLC           ATTN: LOREN OESTERLE                          546 N AZUSA AVE                                                                          AZUSA                CA      91702
   B ANNIE RAM ENTERPRISES INC            ATTN: MARY ANN BOWEN                          244 MOUNTAIN WAY                                                                         RUTHERFORD           NJ      07070
   B&B BUSINESS GROUP LLC                 ATTN: MICHAEL BUDKA                           375 S CAMEO WAY                                                                          BREA                 CA      92823
   B&B TAX                                ATTN: LANDON BROCKMAN                         531 N MAIN ST                                                                            PIQUA                OH      45356
   BAILEY BEAR LLC                        ATTN: JOHN PALANA                             44 WOODMIST CIRCLE                                                                       COVENTRY             RI      02816
   BALWINDER KAUR                                                                       ADDRESS ON FILE
   BARBARA O. JONES                                                                     ADDRESS ON FILE
   BARTO VENTURES II LLC                  ATTN: BRIAN BARTO                             574 MOUNTAINVIEW SCHOOL RD                                                               HIGH VIEW            WV      26808
   BASEPOINT                              ATTENTION: MARY BUTTERY KC                    155 W HASTINGS ST STE 1700 GUINNESS                   OSLER HOSKIN & HARCOURT LLP        VANCOUVER            BC      V6E 2E9   CANADA
                                                                                                                                              KIRKLAND & ELLIS INTERNATIONAL
   BASEPOINT                              ATTN: B.SCHARTZ & A.SMITH                     601 LEXINGTON AVENUE                                  LLP                                NEW YORK             NY      10022
                                                                                                                                              1 1ST CANADIAN P STE 6200 PO BOX
   BASEPOINT                              ATTN: M. WASSERMAN & D. ROSENBLAT             100 KING STREET WEST                                  50                                 TORONTO              ON      M5X 1B8   CANADA
   BASEPOINT ADMINISTRATIVE LLC           ATTN: LEGAL DEPT                              75 ROCKEFELLER PLAZA                                                                     NEW YORK             NY      10019
   BASEPOINT CAPITAL LLC                  ATTENTION: GENERAL COUNSEL                    75 ROCKEFELLER PLAZA 25TH FLOOR                                                          NEW YORK             NY      10019
   BASIL PAPOUTSIS                                                                      ADDRESS ON FILE
   BASTE FINANCIAL SERVICES INC           ATTN: KALID BASTE                             4651 WEST 79TH STREET SUITE 105                                                          CHICAGO              IL      60652
   BBR SERVICES LLC                       ATTN: BIBEK PANDAY KSHETRI                    651 PALOMAR ST SUITE 13                                                                  CHULA VISTA          CA      91911
   BEL EXPRESS INC                        ATTN: MUHAMMAD M. NAEEM                       100 BLUE JAY LANE                                                                        REDLANDS             CA      92374
   BERTINA WINCHEK                                                                      ADDRESS ON FILE
   BERYL ROES                                                                           ADDRESS ON FILE
   BEST TAX FILING LLC                    ATTN: SHUCHI JOSHI                            2020 NE CORNELL RD SUITE J                                                               HILLSBORO            OR      97124
   BEVERLY LEWIS-HAYNES                                                                 ADDRESS ON FILE
   BEVERLY W. MEREDITH                                                                  ADDRESS ON FILE
   BGS ENTERPRISES INC                    ATTN: GARISTINE SIMMONS                       2505 SPRING VALLEY ROAD                                                                  FAYETTEVILLE         NC      28303
   BHOJ DONG                                                                            ADDRESS ON FILE
   BI SUCCESS LTD.                        ATTN: LEGAL DEPT                              738 18TH STREET                                                                          BRANDON              MB      R7A5B5    CANADA
   BIG SKY SERVICES INC.                  ATTN: TROY LAND                               787 NW LOWER SPRINGS RD                                                                  LAKE CITY            FL      32055
   BJ3 CONSULTING INC.                    ATTN: BJ3 CONSULTING INC.                     31 EVANSBOROUGH WAY NW                                                                   CALGARY              AB      T3P0M2    CANADA
   BJG TAX SERVICE INC.                   ATTN: BETHANY GOODMAN                         500 TESNATEE GAP VALLEY RD                                                               CLEVELAND            GA      30528
   BKP ENTERPRISES LLC.                   ATTN: NAGESWARARAO YARLAGADDA                 3811 RUSTIC ARBOUR LN.                                                                   SUGAR LAND           TX      77498
   BLEVINS AND ASSOCIATES                 ATTN: ROBERT BLEVINS                          36430 PISTACHIO DR                                                                       WINCHESTER           CA      92596
   BMH ENTERPRISES LLC                    ATTN: BRET HARDEE                             4112 N OAK AVE                                                                           BROKEN ARROW         OK      74012
   BMWILSON LLC                           ATTN: MICHELLE WILSON                         346 HOOD AVE                                                                             SHINNSTON            WV      26431
   BOBBY JAY SPENCER                                                                    ADDRESS ON FILE
   BOBCAT TAX LLC                         ATTN: CHRISTOPHER OLSEN                       205 BOWE DR                                                                              MONTESANO            WA      98563
   BOJONGO CPAS & ADVISORY PLLC           ATTN: ZITA FOMAFUNG                           958 CORBITT AVE                                                                          FATE                 TX      75189
   BOLD REALTY INVESTMENTS LLC            ATTN: LUISA OSORIO-SANCHEZ                    4 FOREST VIEW AVE                                                                        LOWELL               MA      01850
   BP COMMERCIAL FUNDING TRUST            ATTN: LEGAL DEPT                              75 ROCKEFELLER PLAZA SUITE 2000B                      20TH FLOOR                         NEW YORK             NY      10019
   BP COMMERCIAL FUNDING TRUST ET AL      C/O KIRKLAND & ELLIS LLP ET AL                300 NORTH LASALLE                                     ATTN: GABRIELA Z. HENSLEY          CHICAGO              IL      60654
                                                                                                                                              ATTN: BRIAN SCHARTZ & ALLYSON
   BP COMMERCIAL FUNDING TRUST ET AL      C/O KIRKLAND & ELLIS LLP ET AL                601 LEXINGTON AVENUE                                  SMITH                              NEW YORK             NY      10022
   BP COMMERCIAL FUNDING TRUST ET AL      C/O PACHULSKI STANG ZIEHL & JONES             919 N. MARKET STREET 17TH FLOOR                       ATTN: LAURA DAVIS JONES ET AL      WILMINGTON           DE      19899-
   BP COMMERCIAL FUNDING TRUST II         ATTN: LEGAL DEPT                              75 ROCKEFELLER PLAZA 25TH FLOOR                                                          NEW YORK             NY      10019

   BP COMMERCIAL FUNDING TRUST II         C/O BASEPOINT CAPITAL LLC                     ATTENTION: MICHAEL PETRONIO                           75 ROCKEFELLER PLAZA 25TH FLOOR NEW YORK                NY      10019
   BP SLL TRUST SERIES SPL-III ET AL      ATTN: LEGAL DEPT                              39 LEWIS STREET 2ND FLOOR                                                             GREENWICH               CT      06830
   BP SLL TRUST SERIES SPL-III ET AL      ATTN: LEGAL DEPT                              44 SOUTH BROADWAY                                                                     WHITE PLAINS            NY      10601
   BQS SERVICES LLC                       ATTN: LOREN BRANTLEY                          3200 CEDAR RIDGE DR.                                                                  RICHARDSON              TX      75082
   BRAD NESS                                                                            ADDRESS ON FILE
   BRANDON ALI                                                                          ADDRESS ON FILE
   BRANDON SERBUS                                                                       ADDRESS ON FILE
   BRAYAUD INDUSTRIES INC.                ATTN: STEVEN MCDERMOTT                        7841 OWL CREEK CIR                                                                       LITTLETON            CO      80125
   BRAZORIA COUNTY ET AL                  C/O PERDUE BRANDON FIELDER ET AL              1235 NORTH LOOP WEST STE 600                          ATTN: MELISSA E. VALDEZ            HOUSTON              TX      77008
   BRCS INC.                              ATTN: DEAN RAAB                               78 LARRIMER AVE.                                                                         WORTHINGTON          OH      43085
   BRENDA L LITTLEFIELD                                                                 ADDRESS ON FILE
   BRENT SCHULZ                                                                         ADDRESS ON FILE
   BRIAN & VALERIE MITCHELL                                                             ADDRESS ON FILE
   BRIAN A. CHARLES                                                                     ADDRESS ON FILE
   BRIAN MULLER                                                                         ADDRESS ON FILE
   BRIAN NEAL                                                                           ADDRESS ON FILE
   BRIAN SCOTT                                                                          ADDRESS ON FILE
   BRITOMO SOLUTIONS 290 LLC              ATTN: MOISES BRITO                            15327 BAXTER AVE                                                                         HOUSTON              TX      77084
   BRITOMO SOLUTIONS LLC                  ATTN: MOISES BRITO                            15327 BAXTER AVE                                                                         HOUSTON              TX      77084

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                          Name                                Attention                                  Address 1                                       Address 2                        City    State     Zip   Country
   BRONX FAMILY TAX SERVICE INC.          ATTN: FARUK ALI                              2060 HARRISON AVE APT 2                                                                 BRONX              NY    104533900
   BRUCE DIAZ & MOULOUD BOURBET                                                        ADDRESS ON FILE
   BRUCE STANSBERRY                                                                    ADDRESS ON FILE
   BULLDOG FINANCIAL LLC                  ATTN: DAVID YOST                             102 S EGAN AVE                                                                          MADISON            SD   57042
   BUSINESS WISE SOLUTIONS LLC            ATTN: MAURO AMADOR                           610 EAST UNIVERSITY AVE                                                                 GEORGETOWN         TX   78626
   C T CORPORATION SYSTEM                 ATTN: LEGAL DEPT                             330 N BRAND BLVD SUITE 700                                                              GLENDALE           CA   91203
   C&M TAX SERVICE LLC                    ATTN: CHARLES WOLFE                          601 HOLLYWOOD BLVD STE 2                                                                IOWA CITY          IA   52240
   CABRERA                                                                             ADDRESS ON FILE
   CALVIN JOHNSON                                                                      ADDRESS ON FILE
   CALVIN R. HENDERSON                                                                 ADDRESS ON FILE
   CANARSIE LT INC.                       ATTN: RONALD HALL                            703 THOMAS S BOYLAND ST                                                                 BROOKLYN           NY   11212
   CANON FINANCIAL SERVICES INC.          ATTN: LEGAL DEPT                             158 GAITHER DRIVE MT.                                                                   LAUREL             NJ   08054
                                                                                                                                                                                                       840062-
   CAPITAL COMMUNITY BANK                 ATTN: ERIC ROLLINS                           1909 W STATE RD                                                                         PLEASANT GRV       UT   4081
   CAPITAL COMMUNITY BANK SANDY BEACH     ATTN: LEGAL DEPT                             1909 W STATE RD                                                                         PLEASANT GRV       UT   84062-
   CAPS TAXES INC.                        ATTN: LEGAL DEPT                             1715 RTE 105                                                                            SOUTHAMPTON        NB   E6G1M5    CANADA
   CARDINAL CONSTRUCTS INC.               ATTN: CHARLES MILLER                         5119 MEADOWLARK LANE                                                                    PORTAGE            MI   49024
   CARDOW & ASSOCIATES INC                ATTN: HENRY DOWELL                           4699 JONESBORO RD                                                                       FOREST PARK        GA   30297
   CARL L. TAYLOR                                                                      ADDRESS ON FILE
   CARLA BUGGS GWINN                                                                   ADDRESS ON FILE
   CARLOS E. FARIAS                                                                    ADDRESS ON FILE
   CARLOS WALKER                                                                       ADDRESS ON FILE
   CARMEN Y. ALMONTE                                                                   ADDRESS ON FILE
   CAROL & DON EVANS                                                                   ADDRESS ON FILE
   CAROL ELLIOTT                                                                       ADDRESS ON FILE
   CAROL ELLIOTT                                                                       ADDRESS ON FILE
   CAROLINE ALDECOA                                                                    ADDRESS ON FILE
   CARRIE BAREIS AND JOHN B. BAREIS                                                    ADDRESS ON FILE
   CARSON WOODS & ANTHONY MARUCCO                                                      ADDRESS ON FILE
   CASH MONEY CORPORATION                 ATTN: CORY MILLER                            519 JORDAN LANE                                                                         HUNTSVILLE         AL   35816
   CASTAX GRAND FALLS LTD.                ATTN: LEGAL DEPT                             810 CHEMIN ST. AMAND                                                                    ST. ANDRE          NB   E3Y3K3    CANADA
   CATHERINE COOPER AND WILLIAM COOPER                                                 ADDRESS ON FILE
   CBM FINANCIAL INC.                     ATTN: HAMMAD MULLA                           665 RIVER OAKS DR                                                                       CALUMET CITY       IL   60409
   CDM BUSINESS SERVICES LLC              ATTN: MICHAEL MARTINEZ                       115 S. WOOD ST                                                                          FERRIS             TX   75125
   CEBALLOS TAX SERVICES INC              ATTN: TIMOTHY CEBALLOS                       25 W D ST                                                                               LEMOORE            CA   93245
   CENTRAL PENN AD LLC                    ATTN: JAMES STEVEN OAKS                      63 STARBOARD COURT                                                                      RIDGELEY           WV   26753
   CHANDRA P. SINGH                                                                    ADDRESS ON FILE
   CHANTELL R TEJEDA & GERNARDA BAILEY                                                 ADDRESS ON FILE
   CHARLES GARCIA                                                                      ADDRESS ON FILE
   CHARLES MCCRACKEN                                                                   ADDRESS ON FILE
   CHARLES NJOYA                                                                       ADDRESS ON FILE
   CHARLES SPENCER                                                                     ADDRESS ON FILE
   CHESTNUT TAX GROUP LLC                 ATTN: RAY MAAGERO                            11 PLEASANT VIEW DR.                                                                    SUFFIELD           CT   06078
   CHEYDELLE MCKINZIE                                                                  ADDRESS ON FILE
   CHILMARK ADMINISTRATIVE LLC            ATTN: LEGAL DEPT                             44 SOUTH BROADWAY11TH FLOOR                                                             WHITE PLAINS       NY   10601
   CHOICE CITY TAX SERVICE LLC            ATTN: SABRINA ARGUELLO                       6200 W COUNTY ROAD 54E                                                                  BELLVUE            CO   80512
   CHRISTOPHER FOULKES                                                                 ADDRESS ON FILE
   CHRISTOPHER J. CRISTIANO                                                            ADDRESS ON FILE
   CHRISTOPHER YORK                                                                    ADDRESS ON FILE
   CIBC BANK USA                          ATTN: LEGAL DEPT                             120 SOUTH LASALLE STREET                                                                CHICAGO            IL   60603
   CINDEN LLC                             ATTN: CHARLES OLT                            4600 NW 58TH TERRACE                                                                    KANSAS CITY        MO   64151
   CITY OF CLEVELAND & HARRIS COUNTY      C/O PERDUE BRANDON FIELDER ET AL             1235 NORTH LOOP WEST SUITE 600                        ATTN: MELISSA E. VALDEZ           HOUSTON            TX   77008
   CJ ACCOUNTING INC                      ATTN: CHERYL NICHOLS                         22857 NICHOLS ROAD                                                                      POTEAU             OK   74953
   CLATWORK LLC                           ATTN: GEORGE LEVERETT                        309 SYDENHAM WAY                                                                        EVANS              GA   30809
   CLEMENT OGUNYEMI                                                                    ADDRESS ON FILE
   CLIFFORD CONKELTON                                                                  ADDRESS ON FILE
   CLIFFORD CUTTER                                                                     ADDRESS ON FILE
   CLIPPER SHIP VENTURES LLC              ATTN: PAUL GAMES                             5 WATER STREET SUITE 5C                                                                 NEWBURYPORT        MA   01950
   CMB TAX SERVICE LLC / SERBUS           BROOKS PIERCE MCLENDON ET AL                 150 FAYETTEVILLE STREET SUITE 1700                    ERIC M. DAVID GREG GAUGHT ET AL   RALEIGH NC         NC   27601
   CNJ SERVICES LLC                       ATTN: RONALD SCHUBERT                        12231 FEDDER COURT                                                                      PICKERINGTON       OH   43147
   CNMK FINANCIAL SOLUTIONS INC.          ATTN: LEGAL DEPT                             73 BARBICAN TRAIL                                                                       ST. CATHARINES     ON   L2T4A9    CANADA
   CO TAX SERVICE INC.                    ATTN: HILDA MILNER                           3129 S. MOBILE WAY                                                                      AURORA             CO   80013
   COASTAL TAX LLC                        ATTN: ANDREA BURNS                           1408 MANERA VENTOSA                                                                     SAN CLEMENTE       CA   92673
   COATESVILLE COMMUNITY RISING LLC       ATTN: ANGELA HUNTER                          35 BRIGHTON COURT                                                                       DOWNINGTOWN        PA   19335
   COHILL'S & ASSOCIATES LLC              ATTN: DANIEL COHILL                          520 LUCKETT RD.                                                                         CARTHAGE           MS   39051
   COLEMAN CROOK INC.                     ATTN: COLEMAN CROOK                          8225 BROUGHTON COURT                                                                    COLORADO SPRINGS   CO   80920
   CONCELIUM LLC                          ATTN: CHRISTOPHER LANDIS                     7906 BLACK CHERRY CT.                                                                   HARRISBURG         NC   28075
   CONFIDENTIAL CREDITOR                                                               ADDRESS ON FILE
   CONFIDENTIAL CREDITOR                                                               ADDRESS ON FILE
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                                  Name                    Attention                                       Address 1                                  Address 2              City   State      Zip   Country
   CONFIDENTIAL CREDITOR                                                           ADDRESS ON FILE
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   CORDELL ROORDA                                                                  ADDRESS ON FILE
   COUNTY OF DENTON TEXAS                 C/O MCCREARY VESELKA BRAGG ET AL         PO BOX 1269                                           ATTN: JULIE ANNE PARSONS   ROUND ROCK     TX      78680-
   COUNTY OF DENTON TEXAS                 C/O MCCREARY VESELKA BRAGG ET AL         700 JEFFREY WAY SUITE 100                             ATTN: JULIE ANNE PARSONS   ROUND ROCK     TX      78665


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                          Name                                Attention                                   Address 1                                        Address 2               City   State     Zip   Country
   COVINGTON TAXES LLC                    ATTN: FIROZ ALI                              3395 MOYE TRAIL                                                                  DULUTH            GA    30097
   CRA FUNDING 1 LLC                      ATTN: LEGAL DEPT                             75 ROCKEFELLER PLAZA 20TH FLOOR                       SUITE 2000B                NEW YORK          NY
   CRISTINA STANCIU                                                                    ADDRESS ON FILE
   CRITERION FINANCIAL SERVICES CORP.     ATTN: LEGAL DEPT                             1B-2901 27 STREET                                                                VERNON            BC    V1T4W3    CANADA
   CRUMWELL DENISE ET AL                                                               ADDRESS ON FILE
   CRYSTAL CARLSON                                                                     ADDRESS ON FILE
   CTS TAX SERVICES LLC                   ATTN: TERI ROGERS                            109 CR 3514                                                                      BULLARD           TX    75757
   CURTIS LUCKY                                                                        ADDRESS ON FILE
   CYNETTA TAVE                                                                        ADDRESS ON FILE
   CYPRESS-FAIRBANKS ISD ET AL            C/O LINEBARGER GOGGAN BLAIR ET AL            PO BOX 3064                                           ATTN: TARA L. GRUNEMEIER   HOUSTON           TX    77253-
   D & D FERGUSON ENTERPRISES LTD.        ATTN: LEGAL DEPT                             PO BOX 77                                                                        SANDY HOOK        MB    R0C2W0    CANADA
   D V DORTCH LLC                         ATTN: DARRYL DORTCH                          660 LESTER AVE                                                                   LIMA              OH    45801
   D&K OF MS INC.                         ATTN: DOUGLAS KING                           4 TWIN PINES DR.                                                                 PETAL             MS    39465
   DA WRIGHT ENTERPRISES LLC              ATTN: DAVID WRIGHT                           16502 REDLAND RANCH                                                              SAN ANTONIO       TX    78247
   DALE ROMAN                                                                          ADDRESS ON FILE
   DALE SMITH                                                                          ADDRESS ON FILE
   DAM TAXES INC                          ATTN: DORI DOLORES MILLER                    10135 DOUGLASS RD                                                                FORT WAYNE        IN    46835
   DAMICO CPA INC                         ATTN: CARRIE DAMICO                          22559 LENOX DR                                                                   FAIRVIEW PARK     OH    44126
   DAND LEGACY INC.                       ATTN: DONNA HAUSER                           13065 PARDEE ROAD.                                                               TAYLOR            MI    48180
   DANEISHA LLC                           ATTN: MAHMOOD DHANANI                        2428 WINFIELD DUNN PKWY                                                          KODAK             TN    37764
   DANFAM ENTERPRISES LLC                 ATTN: ERIN DANIEL                            1041 CLYDE REYNOLDS DR                                                           LINCOLNTON        NC    28092
   DANIEL COSGROVE                                                                     ADDRESS ON FILE
   DANIEL RAVAL                                                                        ADDRESS ON FILE
   DANIELLE KURKULES                                                                   ADDRESS ON FILE
   DANIELLE QUIGGINS                                                                   ADDRESS ON FILE
   DARRAN JOHNSON                                                                      ADDRESS ON FILE
   DARRYL PRYOR                                                                        ADDRESS ON FILE
   DAVID A. BONNE                                                                      ADDRESS ON FILE
   DAVID AND BARBARA MYERS                                                             ADDRESS ON FILE
   DAVID CEPIN                                                                         ADDRESS ON FILE
   DAVID GANG                                                                          ADDRESS ON FILE
   DAVID GUNTER                                                                        ADDRESS ON FILE
   DAVID J. MARTZ                                                                      ADDRESS ON FILE
   DAVID J. SANDERS                                                                    ADDRESS ON FILE
   DAVID R. JAMES                                                                      ADDRESS ON FILE
   DAVID SILLAMAN                                                                      ADDRESS ON FILE
   DAWN MINOR                                                                          ADDRESS ON FILE
   DAZO INCORPORATED                      ATTN: DHAVAL OZA                             5231 GLENWOOD CIR                                                                LA PALMA          CA    90623
   DEBBY D. HALLMAN                                                                    ADDRESS ON FILE
   DEBORAH J. KLEIN                                                                    ADDRESS ON FILE
   DEBORAH MOORE LLC                      ATTN: DEBORAH MOORE                          3212 SW BATTAGLIA PL                                                             GRESHAM           OR    97080
   DEBORAH WAKEMAN                                                                     ADDRESS ON FILE
   DEBRA AGUAYO                                                                        ADDRESS ON FILE
   DEBS TAX SERVICE LLC                   ATTN: DEBRA HAGERTY-HECOX                    2025 W PINE RIDGE BLVD                                                           BEVERLY HILLS     FL    34465
   DEETZ GLOBAL INC.                      ATTN: ANDREW DEETZ                           1019 NATIVE TRAIL                                                                HEATH             TX    75032
   DELTA RF LLC                           ATTN: MARIA FUGUET                           21505 TOWERGUARD DR                                                              KINGWOOD          TX    77339
   DEMITRIUS WILLIAMS                                                                  ADDRESS ON FILE
   DENILIVA INC.                          ATTN: STEVEN KOWALSKI                        10 DAVID ST                                                                      SOUTHAMPTON       MA    01073
   DENISE DAVIS LLC                       ATTN: DENISE K DAVIS                         907 OAK ST                                                                       JOURDANTON        TX    78026
   DENNIS PRYOR                                                                        ADDRESS ON FILE
   DEPARTMENT OF JUSTICE (“DOJ”) & IRS    RUSSELL J. EDELSTEIN ET AL                   PO BOX 7238 BEN FRANKLIN STN                                                     WASHINGTON        DC    20044
   DEPARTMENT OF JUSTICE (“DOJ”) & IRS    SEAN JANSEN                                  101 WEST MAIN STREET SUITE 8000                                                  NORFOLK           VA    23510-
   DEPOT TAX SERVICES LLC                 ATTN: TIM WILLARD                            601 DELAWARE AVE                                                                 CHARLESTON        WV    25302
   DERON SERVICES INC.                    ATTN: LEGAL DEPT                             3235C 50 AVENUE                                                                  RED DEER          AB    T4N3Y1    CANADA
   DERRICK GREEN                                                                       ADDRESS ON FILE
   DERRICK SMITH                                                                       ADDRESS ON FILE
   DIAMAYA INDUSTRIES GROUP               ATTN: FELICIA JONES                          1504 ONE HALF S REDONDO BLVD                                                     LOS ANGELES       CA    90019
   DIANA L. CONDON & JAMES E. CONDON                                                   ADDRESS ON FILE
   DIANE FERREIRA                                                                      ADDRESS ON FILE
   DIANE MARIA DOS REIS                                                                ADDRESS ON FILE
   DIGIPRO ENGINEERING INC.               ATTN: RALPH GUISTI                           565 GEORGE HANNUM RD                                                             BELCHERTOWN       MA    01007
   DILIGENT PARTNERS LLC                  ATTN: MOHAMMAD HARIS                         7885 SWENSON DRIVE                                                               IRVING            TX    75063
   DILLARD LORENZO AND SHANNON                                                         ADDRESS ON FILE
   DIRECTOR EMPLOYMENT SECURITY OF IL     IL DEPT OF EMPLOYMENT SECURITY               22 S STATE ST 10TH FLOOR                                                         CHICAGO           IL    60603-
   DISTRICT OF COLUMBIA                   OFFICE OF CONSUMER PROTECTION AG DC          400 6TH STREET N.W. 10TH FLOOR                        WENDY WEINBERG             WASHINGTON        DC    20001
   DISTRICT OF COLUMBIA                   OFFICE OF THE ATTORNEY GENERAL               441 4TH ST NW STE 1100S                                                          WASHINGTON        DC    20001
   DISTRICT TAXES CORP                    ATTN: LIZETTE DIAZ                           312 EAST 166TH ST                                                                BRONX             NY    10466
   DL TAX INCORPORATED                    ATTN: DILLON LAKEFIELD                       1612 20TH AVE NW 103                                                             MINOT             ND    58703
   DL&K TAXES LLC                         ATTN: DONALD DOMBACH                         378 OLD BLUE ROCK RD                                                             MILLERSVILLE      PA    17551
   DMDBD LLC                              ATTN: DANAIA STUCK                           5714 80TH AVE NE                                                                 MARYSVILLE        WA    98270
   DOLORES M. ANTESBERGER                                                              ADDRESS ON FILE


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                           Name                                Attention                                  Address 1                                        Address 2                      City   State      Zip   Country
   DON CHIPPEAUX                                                                        ADDRESS ON FILE
   DON KIM                                                                              ADDRESS ON FILE
   DONALD JAMES & MARK RUSSO                                                            ADDRESS ON FILE
   DONNA A. THOMAS                                                                      ADDRESS ON FILE
   DONNA JEMISON                                                                        ADDRESS ON FILE
   DONNA MITCHELL-MAYO                                                                  ADDRESS ON FILE
   DONNIE HARRIS                                                                        ADDRESS ON FILE
   DORIS MELTON                                                                         ADDRESS ON FILE
   DOUGLAS LORENZ                                                                       ADDRESS ON FILE
   DRAKE ENTERPRISES LTD                  C/O COLE SCHOTZ PC                            500 DELAWARE AVENUE SUITE 1410                        ATTN: JUSTIN R. ALBERTO ET AL   WILMINGTON         DE      19801
   DRAKE ENTERPRISES LTD                  COLE SCHOTZ P.C.                              500 DELAWARE AVENUE SUITE 1410                        ATTN: JUSTIN ALBERTO            WILMINGTON         DE      19801
   DRAKE ENTERPRISES LTD.                 ATTENTION: JAMIE STILES                       290 STONECREEK DR                                                                     FRANKLIN           NC      28734
   DRAKE ENTERPRISES LTD.                 ATTN: LEGAL DEPT                              290 STONECREEK DR                                                                     FRANKLIN           NC      28734
   DROPP ENTERPRISES LLC                  ATTN: BRADLEY DROPP                           624 DEVON BROOK DR.                                                                   WOODSTOCK          GA      30188
   DULCE N. CUEVAS                                                                      ADDRESS ON FILE
   DULDUL INC.                            ATTN: SHAZIA RAJPARI                          2305 ARBOR GLENN                                                                      HOOVER             AL      35244
   DUSTIN GRIFFIN                                                                       ADDRESS ON FILE
   DWIGHT DYE                                                                           ADDRESS ON FILE
   DYLAN GERARD                                                                         ADDRESS ON FILE
   E & R GAGEN LLC                        ATTN: ED GAGEN                                8807 E 38TH ST                                                                        INDIANAPOLIS       IN      46226
   E&R TAX GROUP LLC                      ATTN: CHARITY EBERHART                        2575 WHITEHAVEN DR                                                                    MARIETTA           GA      30064
   EAGLE OPSINC                           ATTN: KORT KINSTLER                           422 CENTRAL AVENE                                                                     CHEYENNE           WY      82007
   EASYMAX INC.                           ATTN: SUN KIM                                 3008A WEST LINCOLN AVE                                                                ANAHEIM            CA      92801
   ED WILSON                                                                            ADDRESS ON FILE
   EDUARDO REBOLLEDO                                                                    ADDRESS ON FILE
   EDWARD & DEMETRISE ROBERTS                                                           ADDRESS ON FILE
   EDWARD ALLEN                                                                         ADDRESS ON FILE
   EDWARD STOCK                                                                         ADDRESS ON FILE
   EDWIN SOGBE                                                                          ADDRESS ON FILE
   ELITE TAX SERVICES LLC                 ATTN: TARA MAY                                16610 TAMMANY MANOR RD                                                                WILLIAMSPORT       MD      21795
   ELIZABETH ADAMS                                                                      ADDRESS ON FILE
   ELIZABETH HURST                                                                      ADDRESS ON FILE
   ELIZABETH J. CONNALLY                                                                ADDRESS ON FILE
   ELIZABETH KARNAVAR                                                                   ADDRESS ON FILE
   EMILY TUVERA                                                                         ADDRESS ON FILE
   EMMANUEL ADEWALE                                                                     ADDRESS ON FILE
   EMMANUEL FOKO AND GWLADYS FOKO                                                       ADDRESS ON FILE
   ENA ASKIA                                                                            ADDRESS ON FILE
   ERIC GE                                                                              ADDRESS ON FILE
   ERIC J. BOWMAN                                                                       ADDRESS ON FILE
   ERIC L. LEMOND                                                                       ADDRESS ON FILE
   ERIC NTI-FREMPONG                                                                    ADDRESS ON FILE
   ERIC PORTER                                                                          ADDRESS ON FILE
   ERIKAH HENLEY                                                                        ADDRESS ON FILE
   ERNIE AND CHRISTINA ROSS                                                             ADDRESS ON FILE
   ESSAUL FINANCIALS INC.                 ATTN: SARA ALCALA                             1631 TULEY ST                                                                         CEDAR HILL         TX      75104
   EUGENE E. AND MARYELLEN MCKINLEY                                                     ADDRESS ON FILE
   EUGENIA LAUX                                                                         ADDRESS ON FILE
   EULALIO DIAZ JR                                                                      ADDRESS ON FILE
   EV HOME SOLUTIONS LLC                  ATTN: CLAUDIU CORNETTI                        305 ELLERY CT                                                                         EDGEWATER          NJ      07020
   EXECUTIVE ST SALES                     ATTN: EXECUTIVE ST SALES                      1716 CORPORATE LANDING PARKWAY                                                        VIRGINIA BEACH     VA      23454
   FAHAD M. ISLAM                                                                       ADDRESS ON FILE
   FAIS II INCORPORATED                   ATTN: PAMELA FAISON                           9016 TUSCAN HILLS DR                                                                  SAN ANTONIO        TX      78266
   FAIZAN S AHMED                                                                       ADDRESS ON FILE
   FAMILY CIRCLE SERVICE INC              ATTN: MARIA GARCIA                            16945 SUTTLES DRIVE                                                                   RIVERSIDE          CA      92504
   FANG ENTERPRISE LLC                    ATTN: CATHY FANG                              2853 HORNET AVE                                                                       CLOVIS             CA      93611
   FARUK ALI MOHAMMED & AHMED HUSSAIN                                                   ADDRESS ON FILE
   FELIX R. STRATER III                                                                 ADDRESS ON FILE
   FIDELITY TAX & ACCOUNTING              ATTN: LEGAL DEPT                              12 ARRAN DR                                                                           ST CATHARINES      ON      L2N1M1   CANADA
   FIESTA FINANCIAL SERVICES LLC          ATTN: BILAL SIDDIQI                           821 WOODRIDGE DR                                                                      FORT WORTH         TX      76120
   FINANCIAL CHANGE SOLUTIONS LLC         ATTN: JOLANDA HAMILTON                        2752 MATERA DR                                                                        SAINT CLOUD        FL      34771-
   FINANCIAL FAMILY ADVISORS LLC          ATTN: EDUARDO REBOLLEDO                       4232 ELLA BLVD                                                                        HOUSTON            TX      77018
   FIRST BANK                             KLESTADT WINTERS JURELLER ET AL               200 WEST 41ST STREET 17TH FLOOR                       LAUREN C. KISS                  NEW YORK           NY      10036
   FIRST PITCH LLC                        ATTN: J. SCOTT KIRK                           2330 KINGSLEY DR.                                                                     GRAND PRAIRIE      TX      75050
   FLORIAN'S TAX SERVICES CORP            ATTN: YAHAIRA FLORIAN                         1835 WESTCHESTER AVE                                                                  BRONX              NY      10472
   FM1960 TAX OFFICE LLC                  ATTN: ANUP KHANAL                             2137 CYPRESS CREEK PARKWAY                                                            HOUSTON            TX      77090
   FOUR STAR TAX SERVICES INC             ATTN: ALIZA KAPADIA                           25119 CALLAWAY                                                                        SAN ANTONIO        TX      78260
   FOUZIA SHAKOOR                                                                       ADDRESS ON FILE
   FOY FINANCIAL INC                      ATTN: WILLIAM FOY                             600 BOLL WEEVIL CIRCLE STE 8                                                          ENTERPRISE         AL      36330
   FRANK TERESCHAK                                                                      ADDRESS ON FILE
   FRED HUFFMAN & JEFFREY WOODLEE                                                       ADDRESS ON FILE


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                          Name                              Attention                                   Address 1                                 Address 2                   City          State     Zip    Country
   FREEDOM FINANCIAL INC.                 ATTN: ROBERT SORENSEN                      359 COBURN AVE. NW                                                              BUFFALO                MN    55313
   FREEDOM ONE LLC                        ATTN: MARY WHITNEY                         1081 TAYLOR MILLS DR                                                            REYNOLDSBURG           OH    43068
   FREEDOM TAX SERVICES INC               ATTN: RAUL TORRES                          4118 AYERS ST.                                                                  CORPUS CHRISTI         TX    78415
   FRONTIER CAPITAL GROUP LTD.            ATTN: DAVID SCHAEFFER TREASURER            103 NW 3RD STREET                                                               DIMMITT                TX    79027
   FRONTIER CAPITAL GROUP LTD.            ATTN: LEGAL DEPT                           103 NW 3RD STREET                                                               DIMMITT                TX    79027
   FRONTIER CAPITAL GROUP LTD.            ATTN: MAT BRADLEY VP                       PO BOX 99                                                                       DIMMITT                TX    79027
   FTI CONSULTING                         ATTN: LEGAL DEPT                           701 WEST GEORGIA STREET                          SUITE 1450 PO BOX 10089        VANCOUVER              BC    V7Y 1B6    CANADA
   FURQAN KHALIQ                                                                     ADDRESS ON FILE
   GA TAX AND BOOK KEEPING INC.           ATTN: DANETTE THOMPSON                     4132 ATLANTA HWY SUITE 204                                                      LOGANVILLE             GA   30052
   GAIL GARCIA CERDA                                                                 ADDRESS ON FILE
   GALAXY TAX SERVICES LLC                ATTN: AMIN MOHAMMAD                        24526 LUCCA MIST                                                                SAN ANTONIO            TX   78260
   GANG FINANCIAL LLC                     ATTN: DAVID GANG                           4338 WELDWOOD LANE                                                              SYLVANIA               OH   43560
   GARLAND NOSEWORTHY                     ATTN: GARLAND NOSEWORTHY                   PO BOX 95                                                                       FLOWERS COVE           NL   A0K2N0      CANADA
   GARRETT ATZ                                                                       ADDRESS ON FILE
   GARY BLOOME P A                                                                   ADDRESS ON FILE
   GARY GARLAND                                                                      ADDRESS ON FILE
   GARY LAVICKA                                                                      ADDRESS ON FILE
   GARY O. STOBART                                                                   ADDRESS ON FILE
   GARY O'BRIEN                                                                      ADDRESS ON FILE
   GARY STAUBER                                                                      ADDRESS ON FILE
   GARYPETER SITE NUMBER ONE INC          ATTN: GARY WINSTON SR.                     16817 LIVERNOIS AVENUE SUITE 3                                                  DETROIT                MI   482213900
   GAUDET BUSINESS SERVICES LTD           ATTN: LEGAL DEPT                           1968 PATRICE RD                                                                 CHURCH PT.             NS   B0W 1M0 CANADA
   GENESIS TAXES OF PENSACOLA INC         ATTN: GABRIEL SMITH                        3260 PINE FOREST RD.                                                            CANTONMENT             FL   32533
   GENESIS VENTURES TAXES INC             ATTN: LARRY GOODWIN                        6491 103RD STREET                                                               JACKSONVILLE           FL   32210
   GEORGE HANDY                                                                      ADDRESS ON FILE
   GERALD L. ROSHON EA LLC                ATTN: GERALD ROSHON                        10521 JULIANO DR.                                                               RIVERVIEW              FL   33569
   GHASSAN JABER                                                                     ADDRESS ON FILE
   GHAZI DAKIK                                                                       ADDRESS ON FILE
   GHL ENTERPRISES INC                    ATTN: CORINNE SHIPMAN                      3713 WESTVIEW DRIVE                                                             BEDFORD                TX   76021
   GILBERT & IRMARIE MERCADO                                                         ADDRESS ON FILE
   GILBERT STEPHEN A.                                                                ADDRESS ON FILE
   GILBERT STEPHEN A.                                                                ADDRESS ON FILE
   GINA M. BERNSTEIN                                                                 ADDRESS ON FILE
   GINGER F. AUSBAN                                                                  ADDRESS ON FILE
   GL FINANCIAL LLC                       ATTN: CHRISTOPHER WULFORST                 1521 ASHEVILLE HIGHWAY                                                          SPARTANBURG            SC   29303
   GOLDEN DUNES TAX SERVICE INC           ATTN: PATRICIA GRISWOLD                    3218 LONGHORN DRIVE                                                             COLONIAL HEIGHTS       VA   23834
   GOLIATH ACCOUNTING INC.                ATTN: JACQUELINE WATSON                    6468 ODESSA CT                                                                  WEST BLOOMFIELD        MI   48324
   GORILLA TAX SERVICES INC.              CALIHAN LAW PLLC                           16 E MAIN ST 620 REYNOLDS ARCADE BG              ROBERT B. CALIHAN              ROCHESTER              NY   14614
                                                                                                                                      CHRISTOPHER DAVIS & DESTINEE
   GORILLA TAX SERVICES INC.              DAVIS LAW PLC                              555 BELAIRE AVENUE SUITE 340                     BYERS                          CHESAPEAKE             VA   23320
   GRACE WHITE & RODNEY WHITE                                                        ADDRESS ON FILE
   GRACIA GRACIA CREVECOEUR GRACIA                                                   ADDRESS ON FILE
   GREG JABLONOWSKI                                                                  ADDRESS ON FILE
   GREG MASSEY                                                                       ADDRESS ON FILE
   GREG MOSER                                                                        ADDRESS ON FILE
   GRITS MARKETING INC.                   ATTN: TIFFANY DODSON                       3576 SUMMERFIELD LANE                                                           WINSTON SALEM          NC   27106
   GSN FINANCIAL LLC                      ATTN: SANDRA NAJMY                         7770 CAMDEN HARBOUR DR                                                          BRADENTON              FL   34212
   GUADALUPE MAURICIO                                                                ADDRESS ON FILE
   GUADALUPE MAURICIO                                                                ADDRESS ON FILE
   GUADALUPE RUBIO                                                                   ADDRESS ON FILE
                                                                                                                                      CHRISTOPHER DAVIS & DESTINEE
   GULF COAST MARKETING GROUP INC.        DAVIS LAW PLC                              555 BELAIRE AVENUE SUITE 340                     BYERS                          CHESAPEAKE             VA   23320
   GURMEET S. CHAWLA                                                                 ADDRESS ON FILE
   GWENDA LACROIX                                                                    ADDRESS ON FILE
   HAASE FINANCIAL SERVICES LLC           ATTN: STEVEN HAASE                         871 W MASON ST                                                                  GREEN BAY              WI   54303
   HACK FINANCIAL LLC                     ATTN: GEORGE HACK                          3442 KENWOOD BLVD                                                               TOLEDO                 OH   43606
   HAI N. KNEPPER                                                                    ADDRESS ON FILE
   HALEY S. KLEIN                                                                    ADDRESS ON FILE
   HAMID MAHMOOD                                                                     ADDRESS ON FILE
   HAMMOND FINANCIAL INC                  ATTN: GHUFRAN AHMED                        6414 CALUMET AVE                                                                HAMMOND                IN   46324
   HAMPTON VENTURES INC.                  ATTN: SUSAN HAMPTON                        22555 KAREN CT.                                                                 FARMINGTON HILLS       MI   48336
   HANESHINDER CHAUHAN                                                               ADDRESS ON FILE
   HANK REARDEN LLC                       ATTN: EDWARD O'CONNOR                      119 WINTERBERRY LANE                                                            HAMMONTON              NJ   08037
   HARDCASTLE ADVISORS LLC                ATTN: RYAN CASE                            77 PUTNAM PLACE                                                                 GROSSE POINTE SHORES   MI   48236
   HARPER WHITE INVESTMENTS LLC           ATTN: JEFFREY WHITE                        1795 CUTLEAF CREEK RD                                                           GRAYSON                GA   30017
   HARRISBURG AREA DEVELOPER LLC          ATTN: STEVEN OAKS                          63 STARBOARD COURT                                                              RIDGELEY               WV   26753
   HARTMAN TAX SERVICE INC.               ATTN: ROBERT HARTMAN                       1296 SEABRIGHT DRIVE                                                            ANNAPOLIS              MD   214094601
   HEATH FINANCIAL ENTERPRISES INC.       ATTN: ELIZABETH VILLENEUVE                 130 BELLAMY TRAIL                                                               SEBASTIAN              FL   32958
   HEATHER D. SHIRLEY                                                                ADDRESS ON FILE
   HEMIZAME LLC                           ATTN: LUIS HERNANDEZ                       12 BRUSH CT                                                                     GARNERVILLE            NY   10923
   HESHAM MOHD                                                                       ADDRESS ON FILE

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                           Name                              Attention                                   Address 1                          Address 2              City      State      Zip      Country
   HUGO STRIEDINGER                                                                    ADDRESS ON FILE
   HUMPHREYS TAX SERVICE INC              ATTN: WESLEY HUMPHREYS                       1145 PALM COVE DRIVE                                             ORLANDO              FL      32835
   HYGUENS BARJON                                                                      ADDRESS ON FILE
   I BUSINESS CENTER LLC                  ATTN: CHARLES ELDRIDGE                       7801 N. FEDERAL HWY. APT 22-201                                  BOCA RATON           FL      33487
   IAM TAX SERVICE LLC                    ATTN: ISAAC MAYFIELD                         805 HV JONES ST                                                  JACKSONVILLE         TX      75766
   IBRIDGE BUSINESS SERVICES LLC          ATTN: ALEX MWAMBUKIRI                        12303 JONES RD SUITE 300                                         HOUSTON              TX      77070
   ILLINOIS TAX GROUP INC.                ATTN: RAHEEL BAIG                            224 S. LARKIN AVENUE                                             JOLIET               IL      60436
   IMRAN ADAM                                                                          ADDRESS ON FILE
   INEXODUS LLC                           ATTN: BAYO OGUNDELE                          3310 N 143RD LN                                                  GOODYEAR             AZ      85395-
   INHANDS TAX & CONSULTING DBA LTS       ATTN: KANDY ROSE                             711 RIVER OAKS DR.                                               NEW ORLEANS          LA      70131
   IQV SERVICING LLC SERVICER             ATTN: HARRY FARVER                           5165 EMERALD PARKWAY SUITE 160                                   DUBLIN               OH      43017
   IS TERRA INC.                          ATTN: LEGAL DEPT                             11440-78TH AVE                                                   EDMONTON             AB      T6G 0N3     CANADA
   ISABEL GOMEZ                                                                        ADDRESS ON FILE
   ISABEL VILLAGOMEZ                                                                   ADDRESS ON FILE
   ISMA LLC                               ATTN: SAMANTHA SLAPNIK                       300 SPARTINA CT                                                  NORTH MYRTLE BEACH   SC      29582
   ISMAT ALMOUHTASEB                                                                   ADDRESS ON FILE
   ISRAEL LOPEZ                                                                        ADDRESS ON FILE
   ITAX SOLUTIONS INC.                    ATTN: MUHAMMAD MIRZA                         4941 N MILWAUKEE AVE                                             CHICAGO              IL      60630
   ITAXES INC.                            ATTN: NIGEL ALFRED                           1309 E. COMMERCIAL BLVD                                          OAKLAND PARK         FL      33334
   J&D B'HATZLACHA LLC                    ATTN: JEFFREY GARCIA                         4377 W 137TH ST                                                  HAWTHORNE            CA      90250
   J&N TAX LLC                            ATTN: JEFF BUTLER                            675 FALLS RD                                                     SCALY MOUNTAIN       NC      28775
   J&S TAX ACCOUNTING & INSURANCE         ATTN: JOSEPH ILELEJI                         243 W. CLIFFWOOD AVE.                                            ANAHEIM              CA      92802
   J&S TAX SOLUTIONS LLC                  ATTN: JOSE VALLEJO                           527 W WOODLAWN AVE                                               SAN ANTONIO          TX      78212
   J. HARRINGTON SERVICES LLC             ATTN: PRINCESS HARRINGTON                    2417 REDHILL MT. VERNON RD.                                      WADESBORO            NC      28170
   J. RAYMOND FLETCHER & MICHAEL PESTA                                                 ADDRESS ON FILE
   J.R.S. MANAGEMENT CORPORATION          ATTN: LEGAL DEPT                             1205 3RD AVENUE S                                                LETHBRIDGE           AB      T1J0J7      CANADA
   JAB LLC                                ATTN: JACK WILLIAMS                          8300 E REGENTS RD                                                PALMER               AK      99645
   JACK LOCKSPEISER                                                                    ADDRESS ON FILE
   JACK MCDONNELL                                                                      ADDRESS ON FILE
   JACOB EHRENPREIS                                                                    ADDRESS ON FILE
   JAIN INC.                              ATTN: PRABHAKAR JAIN                         37 HEMINGWAY ST.                                                 SHREWSBURY           MA      01545
   JAM TAX FRANCHISE INC                  ATTN: JOHN PESELLA                           322 SE PORT ST LUCIE BLVD                                        PORT ST LUCIE        FL      34984
   JAMAAL COLEMAN                                                                      ADDRESS ON FILE
   JAMES COLEY                                                                         ADDRESS ON FILE
   JAMES HEDGES                                                                        ADDRESS ON FILE
   JAMES OKEIGWE                                                                       ADDRESS ON FILE
   JAMES R. GRANT                                                                      ADDRESS ON FILE
   JANA GOOD                                                                           ADDRESS ON FILE
   JANE SNEED                                                                          ADDRESS ON FILE
   JARRETT GOLD                                                                        ADDRESS ON FILE
   JASON ANDERSON                                                                      ADDRESS ON FILE
   JASON KASSAB                                                                        ADDRESS ON FILE
   JAVED RASHEED                                                                       ADDRESS ON FILE
   JAVIER CARRENO                                                                      ADDRESS ON FILE
   JAVIER SOLIS                                                                        ADDRESS ON FILE
   JAVIER TORRES                                                                       ADDRESS ON FILE
   JAX FINANCIAL & ACCOUNTING SERVICES    ATTN: GORDON WALTON                          1142 SECRET OAKS PLACE                                           JACKSONVILLE         FL      32259
   JDBW ENTERPRISES INC                   ATTN: SHIRLEY TOTTEN                         23618 S SCOTTSDALE DR                                            PECULIAR             MO      64078
   JDBW LLC                               ATTN: SHIRLEY TOTTEN                         706 E NORTH AVE STE D                                            BELTON               MO      64012
   JEANNE JOHNSTON                                                                     ADDRESS ON FILE
   JEFFREY A. MUSALL                                                                   ADDRESS ON FILE
   JELLE 111213 INC.                      ATTN: LEGAL DEPT                             54 CHENIER BAY                                                   WINNIPEG             MB      R3X1K2      CANADA
   JENNIFER BERGER                                                                     ADDRESS ON FILE
   JENNIFER CHENG                                                                      ADDRESS ON FILE
   JEREMY FAJARDO                                                                      ADDRESS ON FILE
   JEROME HERT                                                                         ADDRESS ON FILE
   JERRY CHIN                                                                          ADDRESS ON FILE
   JESSE & ANGELINA SMITH                                                              ADDRESS ON FILE
   JESSICA RESTREPO MOSQUERA                                                           ADDRESS ON FILE
   JFJJ INCOME TAX SERVICE LLC            ATTN: JOHN RUSSELL                           1346 DOUGLAS AVE                                                 FLOSSMOOR            IL      60422
   JICARA COLLINS                                                                      ADDRESS ON FILE
   JIGAR & KRISHNA BANKER                                                              ADDRESS ON FILE
   JIGISH LLC                             ATTN: DIMPAL KALANI                          1419 LAYLA SAGE LOOP                                             RICHMOND             TX      77406
   JINESH TALSANIA                                                                     ADDRESS ON FILE
   JJJR&R1 INC.                           ATTN: JUSTIN VOIGT                           933 UNION CHAPEL ROAD                                            CEDAR CREEK          TX      78612
   JJMG MANAGEMENT LLC                    ATTN: MARK BISCAN                            1821 HONEYCHUCK LANE                                             KENT                 OH      44240
   JL ENTERPRISES INCORPORATED            ATTN: NICOLE OSSENFORT                       514 AMERICAS WAY PMB 20209                                       BOX ELDER            SD      577197600
   JM LEGACY INVESTMENTS LLC              ATTN: ROYCE NORRIS                           317 RAPID FALLS DRIVE                                            DESOTO               TX      75115
   JML TAX LLC                            ATTN: JOSE LOPEZ                             932 SMYTH RD                                                     MANCHESTER           NH      03104
   JODHPUR INC.                           ATTN: PARUL GUPTA                            944 VENTURA ROAD                                                 OXNARD               CA      93030
   JODY BILLS AND ABBY BILLS                                                           ADDRESS ON FILE


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                           Name                              Attention                                    Address 1                         Address 2             City     State      Zip    Country
   JOE FERRILL & ANNIE FOSS                                                            ADDRESS ON FILE
   JOELLE DAMAS                                                                        ADDRESS ON FILE
   JOHANNA TORRES ANGULO                                                               ADDRESS ON FILE
   JOHN B BAREIS AND CARRIE S. BAREIS                                                  ADDRESS ON FILE
   JOHN BURTON                                                                         ADDRESS ON FILE
   JOHN CECIL                                                                          ADDRESS ON FILE
   JOHN GUSTAFSON                                                                      ADDRESS ON FILE
   JOHN MCHALE                                                                         ADDRESS ON FILE
   JOHN NGUYEN                                                                         ADDRESS ON FILE
   JOHN NOISETTE                                                                       ADDRESS ON FILE
   JOHN PEREA                                                                          ADDRESS ON FILE
   JOHN PINO                                                                           ADDRESS ON FILE
   JOHN SABIN                                                                          ADDRESS ON FILE
   JOHN W. GIBSON                                                                      ADDRESS ON FILE
   JOHN W. REGAN                                                                       ADDRESS ON FILE
   JOHNNY BILAVARN                                                                     ADDRESS ON FILE
   JOHNNY XIONG                                                                        ADDRESS ON FILE
   JOLANDA HAMILTON                                                                    ADDRESS ON FILE
   JORDAN DAVIS                                                                        ADDRESS ON FILE
   JOSE ROSILLO                                                                        ADDRESS ON FILE
   JOSE’ ARREOLA GUERRERO                                                              ADDRESS ON FILE
   JOSEPH GAGLIANO                                                                     ADDRESS ON FILE
   JOSEPH HINES AND ROBIN HINES                                                        ADDRESS ON FILE
   JOSEPH NWEGBU                                                                       ADDRESS ON FILE
   JOSEPH PERTZ                                                                        ADDRESS ON FILE
   JOSHUA BIVEN                                                                        ADDRESS ON FILE
   JOVITA BRADEEN                                                                      ADDRESS ON FILE
   JOYCE JORDAN                                                                        ADDRESS ON FILE
   JOYCE MCCABE                                                                        ADDRESS ON FILE
   JSTREET ENTERPRISES LLC                ATTN: JENNIFER STREET                        3596 QUILLBACK COURT                                             ATLANTA            GA      30349
   JUAN SIERRA & SUSAN SALGADO                                                         ADDRESS ON FILE
   JUANA TORRES                                                                        ADDRESS ON FILE
   JUDITH ANICA GONZALEZ                                                               ADDRESS ON FILE
   JUDY VAN UNNIK                                                                      ADDRESS ON FILE
   JULIO VERAS                                                                         ADDRESS ON FILE
   JULIUS QUAYE                                                                        ADDRESS ON FILE
   JUSTIN TAIT                                                                         ADDRESS ON FILE
   JUSTIN Y. YONO                                                                      ADDRESS ON FILE
   JUSTIN Y. YONO                                                                      ADDRESS ON FILE
   K&V ENTERPRISES                        ATTN: KIMBERLY FINCHER-LUCKY                 1905 ROANOKE DR NE                                               RIO RANCHO         NM      87144
   KAILEE HART                                                                         ADDRESS ON FILE
   KAL SOLUTIONS INC.                     ATTN: LEGAL DEPT                             887391 MONO-MULMUR TLINE                                         MULMUR             ON      L9V2W1    CANADA
   KAMEDA TAX SERVICE LLC                 ATTN: JANET OSMUNDSEN                        4 ARNOLD CT.                                                     POMPTON PLAINS     NJ      07444
   KAMRAN RIAZ                                                                         ADDRESS ON FILE
   KAREN COOK                                                                          ADDRESS ON FILE
   KAREN E. MIRANDA                                                                    ADDRESS ON FILE
   KAREN P. GOSS                                                                       ADDRESS ON FILE
   KAREN REDDING LLC                      ATTN: KAREN REDDING                          19 BAYBERRY LANE                                                 FREDERICKSBURG     VA      22406
   KAREN THOMPSON                                                                      ADDRESS ON FILE
   KARRH CAROLYN                                                                       ADDRESS ON FILE
   KATHERINE E. PHILLIPS                                                               ADDRESS ON FILE
   KATIE CANAS                                                                         ADDRESS ON FILE
   KAUR ENTERPRISES LLC                   ATTN: TANIA KAUR                             5999 DE ZAVALA RD SUITE 138                                      SAN ANTONIO        TX      78249
   KAY WELDON                                                                          ADDRESS ON FILE
   KAYLA S. FERRE AND LAURA Y. GILLET                                                  ADDRESS ON FILE
   KAYNE SOLUTIONS FUND L.P.              ATTN: LEGAL DEPT                             1800 AVENUE OF THE STARS 3RD FLOOR                               LOS ANGELES        CA      90067
   KAZEM TABATABAI                                                                     ADDRESS ON FILE
   KBS TAX SERVICE INC                    ATTN: KAMIL SALTER                           5106 NEVADA ST                                                   PHILADELPHIA       PA      19131
   KC FINANCIAL LLC                       ATTN: EUNAH KIM-THERRELL                     510 N. PRINCE HENRY WAY                                          CAMERON            NC      28326
   KC TAX SERVICES LLC                    ATTN: ZABBIR PIRANI                          16524 BLUEJACKET ST                                              OVERLAND PARK      KS      66221
   KCI STORES INC                         ATTN: CHAD BROWN                             1117 LOCUST AVE.                                                 PAPILLION          NE      68046
   KDD TAX INC.                           ATTN: KEN DOOL                               11450 CHURCH ST. 121                                             RANCHO CUCAMONGA   CA      91730
   KELEQU VENTURES LLC                    ATTN: IRMA RODRIGUEZ                         507 N. HWY 77 SUITE 1100D                                        WAXAHACHIE         TX      75165
   KELLY HUGHES                                                                        ADDRESS ON FILE
   KENNETH SHELTON                                                                     ADDRESS ON FILE
   KEVIN COOPER                                                                        ADDRESS ON FILE
   KEY BUSINESS SERVICES INC.             ATTN: LINDA POEHLER                          2 MASON STREET                                                   SALEM              MA      01970
   KEYUR PATEL                                                                         ADDRESS ON FILE
   KGD TAX SERVICES LTD                   ATTN: LEGAL DEPT                             930 2ND ST                                                       ESTEVAN            SK      S4A0L5    CANADA
   KHALID ISLAM                                                                        ADDRESS ON FILE
   KHRISSANDRA SWINNEY                                                                 ADDRESS ON FILE


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                          Name                                Attention                                    Address 1                         Address 2               City   State      Zip    Country
   KIM WAGENMAN                                                                         ADDRESS ON FILE
   KIMBERCET                              ATTN: KIMBERLY RODRIGUEZ                      1940 E LOMITA AVE                                                ORANGE             CA      92867
   KIMBERLY ALLEN                                                                       ADDRESS ON FILE
   KIMBERLY POZZI                                                                       ADDRESS ON FILE
   KJ MILLER L.L.C.                       ATTN: KELLY MILLER                            34804 COUNTY 14 BLVD                                             CANNON FALLS       MN      55009
   KKKI INC                               ATTN: ERIC TONEY                              8209 BUFFALOE RD                                                 KNIGHTDALE         NC      27545
   KLEINFELD BUSINESS SERVICES INC.       ATTN: BARBARA KLEINFELD                       8523 E. ROANOKE AVE                                              SCOTTSDALE         AZ      85257
   KMAS ENTERPRISES LTD                   ATTN: LEGAL DEPT                              1031 50TH AVE E                                                  VANCOUVER          BC      V5X1B7    CANADA
   KMC TAXES LLC                          ATTN: KRISTI-JO SHERMAN                       609 SAKO DR                                                      GILLETTE           WY      82718
   KOKOPELLI-I INC.                       ATTN: JAMES REEVES                            15234 CALLAHAN                                                   FRASER             MI      48026
   KOKOU M. LOGOSSOU                                                                    ADDRESS ON FILE
   KOMAL HOODA                                                                          ADDRESS ON FILE
   KP & SONS LLC                          ATTN: PRABIN SHRESTHA                         263 MUDDY BRANCH RD                                              GAITHERSBURG       MD      20878
   KPL TAX GROUP INC.                     ATTN: KIMBERLY LE                             11822 E. ARTESIA BLVD.                                           ARTESIA            CA      90701
   KRYSTAL SIAS                                                                         ADDRESS ON FILE
   KULBIR HEER INC.                       ATTN: KULBIR HEER                             24450 KARINA ST                                                  HAYWARD            CA      94542
   KUSHAL NEUPANE                                                                       ADDRESS ON FILE
   KYLE GARTH                                                                           ADDRESS ON FILE
   LA K DUB PARTNERS LLC                  ATTN: MARK WILLIAMS                           1973 RAINEY STREET                                               ROCK HILL          SC      29730
   LADONNA K. PRESLEY                                                                   ADDRESS ON FILE
   LAKE RISS INC.                         ATTN: MARIA ALULEMA                           75-22 37TH AVENUE SUITE 262                                      JACKSON HEIGHTS    NY      11372
   LAKEYSHA SWAN                                                                        ADDRESS ON FILE
   LAREN G. RICHARDSON                                                                  ADDRESS ON FILE
   LARRY GARCIA CPA LLC                   ATTN: LARRY GARCIA                            11 STUYVESANT CT                                                 CLIFTON            NJ      07013
   LAURA BANDA & KEVIN HOLLEY                                                           ADDRESS ON FILE
   LAURA IHRMAN                                                                         ADDRESS ON FILE
   LAURA ZAVALA                                                                         ADDRESS ON FILE
   LAURIE L. KUSS                                                                       ADDRESS ON FILE
   LAWRENCE BRUCE                                                                       ADDRESS ON FILE
   LAWRENCE POPE JR                                                                     ADDRESS ON FILE
   LAWRENCE WALSH                                                                       ADDRESS ON FILE
   LAWREY FRANCIS                                                                       ADDRESS ON FILE
   LAWSON FINANCIAL SERVICES LLC          ATTN: JOHN LAWSON                             5415 DOUGLAS FIR CT.                                             CINCINNATI         OH      45247
   LCMA FINANCIAL SERVICES LLC            ATTN: CHRISTINE LOCKHART                      4815 GENOA DRIVE                                                 MOUNT JULIET       TN      37122
   LDMC ENTERPRISES INC                   ATTN: DAYNA FLECK                             19360 RINALDI ST SUITE 256                                       PORTER RANCH       CA      91326
   LEEANN GERST                                                                         ADDRESS ON FILE
   LEGACY TAX PROS INC.                   ATTN: LARRY WARREN                            931 SOUTH WASHINGTON SUITE 2                                     BISMARCK           ND      58504
   LEGALEYE CONSULTING LLC                ATTN: LOWRANCE FISHER                         88 SUYDAM ST SUITE A                                             BROOKLYN           NY      11221
   LEO WAGATHA                                                                          ADDRESS ON FILE
   LEVERAGE POINT LLC                     ATTN: JAMES HOUSTON                           3708 COLONEL VANDERHORST CIRCLE                                  MOUNT PLEASANT     SC      29466
   LI LI                                                                                ADDRESS ON FILE
   LIBERTY CREDIT REPAIR                  ATTN: CREDIT REPAIR                           1716 CORPORATE LANDING PARKWAY                                   VIRGINIA BEACH     VA      23454
   LIBERTY TAX DEBT RESOLUTION            ATTN: DEBT RESOLUTION                         1716 CORPORATE LANDING PARKWAY                                   VIRGINIA BEACH     VA      23454
   LIGHTSHIP GROUP CORP                   ATTN: LARS PAK                                2508 113TH ST SE                                                 EVERETT            WA      98208
   LILY'S TAX SERVICE LLC                 ATTN: LILLIAN HILLMAN                         1851 S SANTA CLARA RD                                            MARION             TX      78124
   LINCOLN TAX LLC                        ATTN: WILLIAM RHINES                          1280 MAIN STREET                                                 WORCESTER          MA      01603
   LINDA D. GOEPPER                                                                     ADDRESS ON FILE
   LINDA J. NEWMAN                                                                      ADDRESS ON FILE
   LINDA K. BRAYDEN                                                                     ADDRESS ON FILE
   LINDA MOORE                                                                          ADDRESS ON FILE
   LINDA TATUM                                                                          ADDRESS ON FILE
   LINH T. HOANG                                                                        ADDRESS ON FILE
   LION TAX LLC                           ATTN: LARISSA LEAO CLARK                      1141 S BEDFORD PL                                                CHANDLER           AZ      85286
   LISA COMEAU                                                                          ADDRESS ON FILE
   LISA D. HEMBREE                                                                      ADDRESS ON FILE
   LISA MOIX                                                                            ADDRESS ON FILE
   LISA PADILLA                                                                         ADDRESS ON FILE
   LJ'S TAX SERVICE LLC                   ATTN: LATISHA MARTIN                          9026 MORTENVIEW DR                                               TAYLOR             MI      48180
   LKY SERVICES LLC                       ATTN: XIAO KUN CHEN                           9002 WESTWILLOW DR.                                              HOUSTON            TX      77064
   LLOYD MANNING JR                                                                     ADDRESS ON FILE
   LLOYD NEWELL                                                                         ADDRESS ON FILE
   LM 2014 BP III SPE LLC                 ATTN: LEGAL DEPT                              1900 S. STATE COLLEGE BLVD STE 300                               ANAHEIM            CA      92806
   LM 2014 BP SPE LLC                     ATTN: LEGAL DEPT                              1900 S. STATE COLLEGE BLVD STE 300                               ANAHEIM            CA      92806
   LM 2014 HC SPE LLC                     ATTN: LEGAL DEPT                              1900 S. STATE COLLEGE BLVD STE 300                               ANAHEIM            CA
   LM 2019 IHA I SPE LLC                  ATTN: LEGAL DEPT                              1900 S. STATE COLLEGE BLVD STE 300                               ANAHEIM            CA      92806
   LMH TAX SERVICE INC                    ATTN: KEITH ALTOBELLI                         140 INFANTRY WAY                                                 MARIETTA           GA      30064
   LOANME GRANTOR TRUST SBL 2019-1        ATTN: LEGAL DEPT                              251 LITTLE FALLS DRIVE                                           WILMINGTON         DE      19808
   LOUIS NEGRON JR. & LEONARDO NEGRON                                                   ADDRESS ON FILE
   LOWELL FAUX                                                                          ADDRESS ON FILE
   LTS EATON AND ASSOCIATES LLC           ATTN: DERRICK BROWNLEE SR.                    1324 WAGNER AVE                                                  GREENVILLE         OH      45331
   LTS ENTREPRENEURS LLC                  ATTN: SUMANT PARIKH                           661 LONGFELLOW DR                                                PLACENTIA          CA      92870


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                         Name                              Attention                                   Address 1                                 Address 2                    City    State     Zip    Country
   LTS EQUITY INC.                        ATTN: ALDWIN FUNDERBURK                    808 PERRYMAN ROAD                                                               HARTSFIELD       GA    31756
   LUCINDY ANDERSON                                                                  ADDRESS ON FILE
   LUIS AGUILAR                                                                      ADDRESS ON FILE
   LUIS ENCARNACION MATEO                                                            ADDRESS ON FILE
   LUIS FLORES                                                                       ADDRESS ON FILE
   LUIS MARTINEZ                                                                     ADDRESS ON FILE
   LUIS MEDINA                                                                       ADDRESS ON FILE
   LYNDON HARRISON                                                                   ADDRESS ON FILE
   M & A MANAGEMENT LLC                   ATTN: AMANDA HENRY                         8161 WEST POINTE DR.                                                            TALBOTT          TN    37877
   M & N SERVICES INC                     ATTN: AJAY PAVAGADHI                       7546 KATELLA AVE                                                                STANTON          CA    90680
   M & N SOLUTIONS INC.                   ATTN: NORMAN HANSON                        2996 S 2700 E                                                                   SALT LAKE CITY   UT    84109
   M & S PROFESSIONAL SERVICES INC.       ATTN: MALKEET SINGH                        208 ENTRADA PLAZA                                                               UNION CITY       CA    94587
   M 4 CONSULTING LLC                     ATTN: MARTIN GARCIA                        741 S ST. 4TH AVE                                                               YUMA             AZ    85364
   M&M BUSINESS GROUP L.P.                ATTN: MICHAEL BUDKA                        375 S CAMEO WAY                                                                 BREA             CA    92823
                                                                                                                                      CHRISTOPHER DAVIS & DESTINEE
   M&M BUSINESS GROUP LP                  DAVIS LAW PLC                              555 BELAIRE AVENUE SUITE 340                     BYERS                          CHESAPEAKE       VA    23320
   M. UMAR BEIG                                                                      ADDRESS ON FILE
   MADLIN ENTERPRISES LLC                 ATTN: LORI BEDROSIAN                       8 SOUTH MAIN ST                                                                 ATTLEBORO        MA    02703
   MAG IV INC.                            ATTN: JENNY MAGERLE                        3040 SCENIC AVE                                                                 CENTRAL POINT    OR    97502
   MAHMOOD M. DHANANI                                                                ADDRESS ON FILE
   MAIN STREET TAX LLC                    ATTN: PHILLIP E. GRAYBEAL                  1221 MILL CREEK CROSSROADS                                                      LURAY            VA    22835
   MAIN STREET TAX SERVICES LLC           ATTN: LUIS RAMIREZ                         4725 E BROWN RD 69                                                              MESA             AZ    85205
   MALK JR TAX LLC                        ATTN: MADISON LUU                          2091 SAXON BLVD SUITE 103                                                       DELTONA          FL    32725
   MANEESH GUPTA                                                                     ADDRESS ON FILE
   MANUEL DAMIAN-CABALLERO                                                           ADDRESS ON FILE
   MANUEL HIZON                                                                      ADDRESS ON FILE
   MARC A. VASSOR                                                                    ADDRESS ON FILE
   MARC J. TIMOTHEE                                                                  ADDRESS ON FILE
   MARCHIZZA TAX LLC                      ATTN: FELICIA BOWDEN                       607 EAST HAUB STREET                                                            HAUBSTADT        IN    47639
   MARCO SHOALS AND LESLI SHOALS                                                     ADDRESS ON FILE
   MARGARET TABB                                                                     ADDRESS ON FILE
   MARGARET TAYLOR                                                                   ADDRESS ON FILE
   MARGARITA GARZA                                                                   ADDRESS ON FILE
   MARIA ELIZABETH LOZANO-ARVIZO                                                     ADDRESS ON FILE
   MARIA RIVERO                                                                      ADDRESS ON FILE
   MARJORIE & MICHAEL CALLAGHAN                                                      ADDRESS ON FILE
   MARK & CHRISTAL HAWKINS                                                           ADDRESS ON FILE
   MARK & DYLAN GRIESELDING                                                          ADDRESS ON FILE
   MARK AND KIMBERLI CAMARATA                                                        ADDRESS ON FILE
   MARK CASSLER & BENJAMIN SCHOTT                                                    ADDRESS ON FILE
   MARK COUCH                                                                        ADDRESS ON FILE
   MARK CUNNINGHAM                                                                   ADDRESS ON FILE
   MARK GRAHAM                                                                       ADDRESS ON FILE
   MARK JOHNSON                                                                      ADDRESS ON FILE
   MARK ROBISON                                                                      ADDRESS ON FILE
   MARK SINGH                                                                        ADDRESS ON FILE
   MARKIOS ACCOUNTING & TAX SERVICE       ATTN: MICHAEL MALONE                       14828 BUILD AMERICA DRIVE                                                       WOODBRIDGE       VA    22191
   MARKIT ACCOUNTING SERVICES LTD.        ATTN: LEGAL DEPT                           11025 67 AVENUE                                                                 GRANDE PRAIRIE   AB    T8W 2Y8    CANADA
   MARLA CARMONA LLC                      ATTN: MARLA CARMONA                        1210 E DIANA AVENUE                                                             PHOENIX          AZ    85020
   MARLON HUNTER                                                                     ADDRESS ON FILE
   MARTHA DRAKE                                                                      ADDRESS ON FILE
   MARTHA NAVARRO                                                                    ADDRESS ON FILE
   MARTIN HOLDINGS LLC                    ATTN: KIMBERLY MARTIN                      7908 NW TAYLORS LANDING                                                         LAWTON           OK    73505
   MARTIN SHAWN                                                                      ADDRESS ON FILE
   MARY JOHNSON                                                                      ADDRESS ON FILE
   MARY L. SPARKS                                                                    ADDRESS ON FILE
   MARY METHNER                                                                      ADDRESS ON FILE
   MARY TAYLOR                                                                       ADDRESS ON FILE
   MAS TAX SERVICES LLC                   ATTN: SYED MARICAR                         7953 ORCHARD CT                                                                 WEST CHESTER     OH    45069
   MATHIS FINANCIAL GROUP INC.            ATTN: JENNIFER MATHIS                      33509B PACIFIC HWY S                                                            FEDERAL WAY      WA    98003
   MATTHEW JESPERSEN                                                                 ADDRESS ON FILE
   MAUREEN ZARS                                                                      ADDRESS ON FILE
   MAXES LLC                              ATTN: MARK RUSSO                           345 WEST MAIN ST                                                                WATERBURY        CT    06702
   MAYRA RODRIGUEZ                                                                   ADDRESS ON FILE
   MAYRA SALAS AND CAROLINA SALAS                                                    ADDRESS ON FILE
   MAZIN INC.                             ATTN: CAROLYN GRACE                        260 CARSON JONES RD                                                             DANVILLE         VA    24540
   MCFARMER INC.                          ATTN: JANICE FARMER                        8 AUTUMN CT                                                                     BLACKWOOD        NJ    08012
   MCMANUS & MCMANUS ENTERPRISES INC.     ATTN: CHAUNAKA MCMANUS                     6451 FISHING POND CT.                                                           HIGH POINT       NC    27265
   MDK TAX LLC                            ATTN: DEBRA WALKER                         9050 DIXIE HWY SUIT 104                                                         LOUISVILLE       KY    40258
   MEHAR ENTERPRISE INC                   ATTN: GURMEET CHAWLA                       1336 S CESAR E CHAVEZ DR                                                        MILWAUKEE        WI    53204
   MELI SERVICES INC                      ATTN: YAHYA RAFIEE                         3218 SOUTH DORT HIGHWAY                                                         FLINT            MI    48507


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   MELISSA D GRAHAM                                                                  ADDRESS ON FILE
   MELISSA FARMER                                                                    ADDRESS ON FILE
   MELISSA HOLSTEIN                                                                  ADDRESS ON FILE
   MERIDIAN POWER GROUP INC.              THE PRITCHETT LAW GROUP                    1100 PEACHTREE ST NE #950                        STEVEN J. PRITCHETT ESQ.   ATLANTA            GA      30309
   METRO MULTI SERVICES INC               ATTN: AKBAR ISSANY                         133-04 ROCKAWAY BLVD                                                        JAMAICA            NY      11420
   MG2T TAX SERVICES INC.                 ATTN: MICHAEL SCHOENEBECK                  12537 WHIPPOORWILL ST                                                       BROOMFIELD         CO      80020
   MI030 LLC                              ATTN: DANIEL ROMAN                         22024 KNUDSEN DRIVE                                                         GROSSE ILE         MI      48138
   MICAELA A. SAENZ                                                                  ADDRESS ON FILE
   MICHAEL AND KATHARINE SAWYER                                                      ADDRESS ON FILE
   MICHAEL BUDKA                                                                     ADDRESS ON FILE
   MICHAEL J. PESTA                                                                  ADDRESS ON FILE
   MICHAEL JACOBS                                                                    ADDRESS ON FILE
   MICHAEL KECK                                                                      ADDRESS ON FILE
   MICHAEL MAGEE                                                                     ADDRESS ON FILE
   MICHAEL MARTINEZ                                                                  ADDRESS ON FILE
   MICHAEL MERIT                                                                     ADDRESS ON FILE
   MICHAEL MOORE                                                                     ADDRESS ON FILE
   MICHAEL NIVERA                                                                    ADDRESS ON FILE
   MICHAEL SHINNEMAN                                                                 ADDRESS ON FILE
   MICHAEL TROMBETTA                                                                 ADDRESS ON FILE
   MICHAEL TURNER                                                                    ADDRESS ON FILE
   MICHAEL VAN HOUTAN                                                                ADDRESS ON FILE
   MICHAEL W. STANLEY                                                                ADDRESS ON FILE
   MICHAEL WILLIAMS                                                                  ADDRESS ON FILE
   MICHAEL WILLIAMS & KEVIN CUNNINGHAM                                               ADDRESS ON FILE
   MICHELLE M. KOTEWA                                                                ADDRESS ON FILE
   MICHELLE NEILL TANGE                                                              ADDRESS ON FILE
   MIDAS TOUCH INC.                       ATTN: CONNIE MOORE                         3705 TIMAHOE CIR                                                            BALTIMORE          MD      21236
   MIGUEL LORA                                                                       ADDRESS ON FILE
   MIHALKA ENTERPRISES INC                ATTN: MARK MIHALKA                         123 PENINSULA DRIVE                                                         BEAR CREEK TWP     PA      18702
   MIKE BUDKA AND MUFEED HADDAD                                                      ADDRESS ON FILE
   MINH T. NGUYEN                                                                    ADDRESS ON FILE
   MINNESOTA WEST TAX SERVICE INC         ATTN: MICHAEL WILLIAMSON                   629 1ST STREET SOUTH                                                        WILLMAR            MN      56201
   MISHELL VEGA                                                                      ADDRESS ON FILE
   MISTY ROMERO                                                                      ADDRESS ON FILE
   MITCHELL ROSEN TAX SERVICE LLC         ATTN: JOSEPH ROSEN                         832 PENTWATER LN                                                            SCHERERVILLE       IN      46375
   MJM INVESTMENTS INC                    ATTN: SCOTT ARLANDSON                      3776 DRUMCLIFFE CT                                                          ROSEMOUNT          MN      55068
   MM TAX & ACCOUNTING INC.               ATTN: MOHAMMAD MIAH                        2123 GRAND AVE APT. 3                                                       BRONX              NY      10453
   MMMP ENTERPRISES INC.                  ATTN: MARK MIHALKA                         123 PENINSULA DRIVE                                                         BEAR CREEK TWP     PA      18702
   MNS SERVICE CORP                       ATTN: MOHAMMED CHANDOO                     21533 SNOW AVE                                                              DEARBORN           MI      48124
   MOBJOB INVESTMENTS LTD                 ATTN: MICHAEL OBRIEN                       25 N. LAKERIDGE CIRCLE                                                      SPRING             TX      77381
   MOE INVESTMENTS L.L.C.                 ATTN: JOSEPH COTTONE                       16679 WHISLER DR.                                                           BROWNSTOWN         MI      48173
   MOHAMED CHAREQ                                                                    ADDRESS ON FILE
   MOHAMMAD AKHTAR                                                                   ADDRESS ON FILE
   MOHAMMAD ALAM                                                                     ADDRESS ON FILE
   MOHAMMAD MIAH & MD OBAIDULLAH KHAN                                                ADDRESS ON FILE
   MOHAMMED MIAH                                                                     ADDRESS ON FILE
   MOHAWK INVESTMENTS INC.                ATTN: MARK PHILLIPS                        7455 MCDONALD RD                                                            MOHAWK             TN      37810
   MONEY ENTERPRISES INC.                 ATTN: DARREN MONEY                         301 NORTH VALLEY ROAD                                                       SEARCY             AR      72143
   MONICA GONZALEZ                                                                   ADDRESS ON FILE
   MONIQUE JACKSON                                                                   ADDRESS ON FILE
   MONIQUE PARISH                                                                    ADDRESS ON FILE
   MORAN AGENCY LLC                       ATTN: JONUE MORAN                          3900 MAIN ST                                                                BRIDGEPORT         CT      06606
   MR TECH STUFF INC                      ATTN: WILLIAM MCPHERSON                    40 ELLINGTON PL                                                             OVIEDO             FL      32765
   MR. BIG DREAMS INC                     ATTN: KARISMA PAGE                         258 RISING MEADOW WAY                                                       EAST STROUDSBURG   PA      18302
   MSM ENTERPRISES INC                    ATTN: MARYANN COLATI                       37014 OWL DR                                                                SELBYVILLE         DE      19975
   MUFEED HADDAD                                                                     ADDRESS ON FILE
   MUFEED HADDAD                                                                     ADDRESS ON FILE
   MUFEED HADDAD                                                                     ADDRESS ON FILE
   MUHAMMAD SIKANDAR                                                                 ADDRESS ON FILE
   MULTI ASSET TAX SERVICE LLC            ATTN: ELIZABETH CAROBERT                   1444 CORBIN AVE                                                             NEW BRITAIN        CT      06053
   MUSTAFA ELHASANI                                                                  ADDRESS ON FILE
   MUSTAFA USMAN                                                                     ADDRESS ON FILE
   MUSTAPHA MARSEILLE                                                                ADDRESS ON FILE
   MY BUSINESS GROUP LLC                  ATTN: MICHAEL MORRELL                      4510 SUGARTREE DR. W.                                                       LAKELAND           FL      33813
   MY SERVICES FLORIDA LLC                ATTN: MICHAEL MORRELL                      2944 S. FLORIDA AVE.                                                        LAKELAND           FL      33803
   MY TAX PEOPLE LLC                      ATTN: SHERRY SCHWEITZER                    2813 E SCORPIO PL                                                           CHANDLER           AZ      85249
   MYSMART POCKET INC.                    ATTN: ROSSEL LASTIMOSO                     1943 S. PEPPER TREE LANE                                                    SAN BERNARDINO     CA      92408
   NANCY CLARK                                                                       ADDRESS ON FILE
   NANCY HAGEN                                                                       ADDRESS ON FILE
   NANCY TRAN                                                                        ADDRESS ON FILE


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                            Name                            Attention                                   Address 1                                  Address 2                    City   State      Zip     Country
   NATASHIA KLOS                                                                      ADDRESS ON FILE
   NAVEEN KUMAR                                                                       ADDRESS ON FILE
   NC TAX SERVICES LLC                    ATTN: RABINDRA KARKI                        1328 LEGENDARY LN                                                              MORRISVILLE       NC      27560
   NELSON MALDONADO                                                                   ADDRESS ON FILE
   NEVILLE MAHONEY                                                                    ADDRESS ON FILE
   NEWSHAM BUSINESS SERVICES INC          ATTN: MADELINE NEWSHAM                      8088 POULSON ST                                                                CITRUS HEIGHTS    CA      95610
   NEXT POINT FINANCIAL INC. ET AL        ATTN: LEGAL DEPT                            1133 MELVILLE ST SUITE 2700                                                    VANCOUVER         BC      V6E 4E5    CANADA
   NHUNG TUYET ELIZABETH PHAN                                                         ADDRESS ON FILE
   NICHOLAS BATCH                                                                     ADDRESS ON FILE
   NICHOLAS J ELLIOTT                                                                 ADDRESS ON FILE
   NICOLA NUNU                                                                        ADDRESS ON FILE
   NICOLE HAMILTON                                                                    ADDRESS ON FILE
   NIHARIKA JIWANI                                                                    ADDRESS ON FILE
   NIKKI SHELSTAD                                                                     ADDRESS ON FILE
   NISHAN TAX INC.                        ATTN: APPAR SINGH                           209 PLAINVIEW ROAD                                                             HICKSVILLE        NY      11801
   NISM LLC                               ATTN: NEELIMA LOKHANDWALLA                  2701 BERSHIRE DR N                                                             CARROLLTON        TX      75007
   NITIN MEHTA & VALLIDEVI YARLAGADDA                                                 ADDRESS ON FILE
   NJ FINANCIAL SERVICES                  ATTN: NIMESH PAREKH                         48492 ARKANSAS PL                                                              FREMONT           CA      94539
   NJLB INC                               ATTN: RACHEL RUFFING                        6424 DETROIT AVE                                                               CLEVELAND         OH      44102
   NKB ENTRERPRISES LLC                   ATTN: JASTINA GREWAL BHALLA                 NKB ENTERPRISES LLC                                                            FALLBROOK         CA      92028
   NOE MARTINEZ JR & ISELA MARTINEZ                                                   ADDRESS ON FILE
   NORCAL LTS INC                         ATTN: SHAVI SANDHU                          1785 HASTINGS WAY                                                              YUBA CITY         CA      95991
   NOR-CAL TAX PREP INC                   ATTN: LISA BACA                             2997 CHURN CREEK RD                                                            REDDING           CA      96049
   NORTH DALLAS WIRELESS LLC              ATTN: WILLIAM LOCKETT                       1615 FOXFIRE DR                                                                COLLEGE STATION   TX      77845
   NORTH OC FINANCIAL SERVICES INC        ATTN: KAREN MIRANDA                         3729 TWEEDY BLVD                                                               SOUTH GATE        CA      90280
   NORTH SHORE TAX INC.                   ATTN: JOANNA PARICHKOV                      1220 LAKE HIGHVIEW LN                                                          BRANDON           FL      33510
   NORTHWEST TAX SERVICES LLC             ATTN: TAMEIKA CAMPBELL                      2865 WESTHOLLOW DR 12                                                          HOUSTON           TX      77082
   NOSHINA KHALID                                                                     ADDRESS ON FILE
   NUECES COUNTY ET AL                    C/O LINEBARGER GOGGAN BLAIR ET AL           PO BOX 17428                                     ATTN: DIANE W. SANDERS        AUSTIN            TX      78760-
   NYM BOOKKEEPING & TAX PREP LLC         ATTN: NICOLE MILLER                         1610 W GARFIELD AVE                                                            PEORIA            IL      61607
   O2 VENTURES LLC                        ATTN: CLEMENT OGUNYEMI                      4179 RAVENWOOD LANE                                                            SPRINGDALE        AR      72762
   OAK HARBOR CAPITAL LLC                 ATTN: LEGAL DEPT                            2003 WESTERN AVE. SUITE 340                                                    SEATTLE           WA      98121
   OAKSHAW LLC                            ATTN: DUSTIN MARTZ                          332 BAKER HOLLOW RD                                                            RIDGELEY          WV      26753
   OBED MUTANYA                           ATTN: OBED MUTANYA                          7200 E BROADWAY BLVD SUITE 120                                                 TUCSON            AZ      85710
   OFFICE OF THE UNITED STATES TRUSTEE    U. S. DEPARTMENT OF JUSTICE                 844 KING STREET SUITE 2207                       ATTN: TIMOTHY JAY FOX JR.     WILMINGTON        DE      19801
   OFFICE OF THE US ATTORNEY              SEAN JANSEN (ASSISTANT US ATTORNEY)         101 WEST MAIN STREET SUITE 8000                                                NORFOLK           VA      23510-
   OPS SUPPORT                            ATTN: NULL NULL                             1716 CORPORATE LANDING PKWY                                                    VIRGINIA BEACH    VA      23454
   ORACLE AMERICA INC                     C/O BUCHALTER A PROFESSIONAL CORP           425 MARKET STREET SUITE 2900                     ATTN: SHAWN M. CHRISTIANSON   SAN FRANCISCO     CA      94105-
   ORANGE ROSE LLC                        ATTN: ANTHONY COLLYER                       13644 NORTH RIM RD NE                                                          ALBUQUERQUE       NM      87112
   ORION INC.                             ATTN: MARY HOBBS                            2712 MONTE VISTA DR                                                            MARYVILLE         TN      37803
   OSCAR VENTURA & MIRIAM SANCHEZ                                                     ADDRESS ON FILE
   P&C FINANCIAL SERVICES LLC             ATTN: PATRICK ONUOHA                        2923 ALYSON WAY                                                                GRAND PRAIRIE     TX      75052
   P419 LLC                               ATTN: SUNGCHUL KWON                         214 PIERMONT RD                                                                NORWOOD           NJ      07648
   PACIFIC TAX SERVICES INC               ATTN: JONATHON MEYER                        1765 FARMVIEW TERRACE                                                          LYNDEN            WA      98264
   PALMER BOOKS AND TAX LLC               ATTN: BRANDON PALMER                        5329 CUBA RD                                                                   WILMINGTON        OH      45177
   PAMELA D. RUSSELL                                                                  ADDRESS ON FILE
   PARABOO FINANCIAL SERVICES LTD.        ATTN: LEGAL DEPT                            108-20611 FRASER HIGHWAY                                                       LANGLEY           BC      V3A4G4     CANADA
   PATHIBHARA FINANCIAL SERVICE INC.      ATTN: TANKA RAYACHHETRY                     3318 COSTA DRIVE                                                               HAYWARD           CA      94541
   PATRICIA MARTINEZ & PETER GALDA                                                    ADDRESS ON FILE
   PATRICIA MEADOWS                                                                   ADDRESS ON FILE
   PATRICK BAIRD                                                                      ADDRESS ON FILE
   PATRICK C. PEREZ                                                                   ADDRESS ON FILE
   PATRICK DAUGHERTY                                                                  ADDRESS ON FILE
   PATRIOT FINANCIAL SERVICES LLC         ATTN: VISHRUTA PARIKH                       101 LOUISE DR                                                                  FRANKLIN          MA      02038
   PAUL C. COX AND ASSOCIATES LLC         ATTN: PATSY COX                             2055 E. COX FERRY ROAD                                                         BOLTON            MS      39041
   PAULINUS I. AKOSA                                                                  ADDRESS ON FILE
   PEKAJO SERVICES INC.                   ATTN: MARK WILLIAMS                         123 S HERLONG AVE                                                              ROCK HILL         SC      29732
   PEOPLE'S TAX AND ACCOUNTING INC        ATTN: EBRAHIM AYUB                          4407 N BROADWAY ST                                                             CHICAGO           IL      60640
   PEP TAX PREPARATION INC                ATTN: PAUL PLIAKAS                          15 BEDFORD                                                                     PAWTUCKET         RI      02860
   PERFECT CIRCLE INCORPORATED            ATTN: RHONDA HUGHES                         3400 E COTTLE LOOP STE 100                                                     WASILLA           AK      99654
   PERIYATHAMBY (PAX) PACKIYANATHAN       ATTN: PERIYATHAMBY PACKIYANATHAN            409-3 DAYSPRING CIR                                                            BRAMPTON          ON      L6P1B7     CANADA
   PETERSON TAX SERVICE LLC               ATTN: DAVID PETERSON                        1004 BYPASS SOUTH                                                              LAWRENCEBURG      KY      40342
   PFIZENMAYER AND ASSOCIATES LLC         ATTN: GABY PFIZENMAYER                      6663 ROSEMONT LN                                                               MASON             OH      45040
   PHILIP A LYNCH & ROCK W. ARCHACKI                                                  ADDRESS ON FILE
   PHILIP JEANFREAU                                                                   ADDRESS ON FILE
   PHILIP KEMPISTY                                                                    ADDRESS ON FILE
   PHILLIP TEXIDOR                                                                    ADDRESS ON FILE
   PINEYWOODS INVESTORS LLC               ATTN: WILLIAM DANIELS                       1302 SAM HOUSTON AVE STE A                                                     HUNTSVILLE        TX      77340
   PIONEER VALLEY ENTERPRISES INC.        ATTN: KRISTIN KICZA                         565 ALLEN RD                                                                   TORRINGTON        CT      06790
   PLATINUM TAX LTD.                      ATTN: ANTHONY FOCCA                         1888 HYLAN BLVD                                                                STATEN ISLAND     NY      10305
   PLUTO RISING INC.                      ATTN: KRISTA SALMON                         11522 31ST DR SE                                                               EVERETT           WA      98208


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                          Name                               Attention                                    Address 1                                Address 2                     City      State     Zip    Country
   PMM ENTERPRISES LIMITED                ATTN: LEGAL DEPT                             46 GRIFFIN WAY                                                                  WEST ST. PAUL      MB     R4A0B1     CANADA
   POVO CORPORATION                       ATTN: PACKY POON                             11607 FOXCLOVE RD                                                               RESTON             VA     20191
   POWERHOUSE TAX SOLUTIONS LLC           ATTN: LEOPOLDO ROCHA                         49 BLANCA LN SP69                                                               WATSONVILLE        CA     95076
   PRECISE TAXES INC                      ATTN: JULIETTE SYKES                         12214 HAMPTON VALLEY TER                                                        CHESTERFIELD       VA     23832
   PRICKETT ENTERPRISES INC.              ATTN: MICHAEL PRICKETT                       1663 S. 250 W.                                                                  SHELBYVILLE        IN     46176
   PRINCESS CLARK-WENDEL                                                               ADDRESS ON FILE
   PRIORITY BOOKKEEPING SERVICES LLC      ATTN: CHARLES WOMACK                         8370 N DONNELLY AVE 715                                                         KANSAS CITY        MO    64158
   PRISTINETAX INC.                       ATTN: VENKATESWARA VANKINA                   17518 MARTHA AVE                                                                CERRITOS           CA    90703
   PRO LEDGERS INC.                       ATTN: LEGAL DEPT                             10753 160TH STREET                                                              SURREY             BC    V4N 1L6     CANADA
   PRP INC                                ATTN: RICHARD WOLFE                          300 E 75TH ST APT 18F                                                           NEW YORK           NY    10021
   PSP SERVICES LLC                       ATTN: PEI PIERCE                             14128 APPLE TREE RD                                                             HOUSTON            TX    77079
   PTS OF THE RGV LLC                     ATTN: GUADALUPE MAURICIO                     1600 MERLIN DR.                                                                 MISSION            TX    78572
   PUJA BHATTA                                                                         ADDRESS ON FILE
   QBJ TAX PREPARATION SERVICES LLC       ATTN: QUENTIN JONES                          7060 WHISTLING WINDS PL                                                         HUGHESVILLE        MD    20637
   QUALITY TAX SERVICE ONE LLC            ATTN: ROXANNA FRAZIER                        1042 BLACKBERRY LANE                                                            LEWIS CENTER       OH    43035
   QUEST TAX SERVICES LLC                 ATTN: SALEEM ALI                             2806 WINTER GORGE                                                               SAN ANTONIO        TX    78259
   QUIVER & ARROW LLC                     ATTN: MARTIN CUNNINGHAM                      120 S YORK RD STE B                                                             HATBORO            PA    19040
   R P S TAX SERVICE LLC                  ATTN: RAJPAL SANDHU                          110 CARRIAGE PLACE                                                              CLINTON            TN    37716
   R&K EVANS LLC                          ATTN: KIMBERLY EVANS                         3431 FRONT ST                                                                   CLIFTON            CO    81520
   R&R PARTNERSHIP LLP                    ATTN: CHRIS ROBINSON                         2500 BARNHILL ROAD                                                              PARAGOULD          AR    72450
   R4 SOLUTIONS LLC                       ATTN: SAIREKHA VEDAGIRI                      253 TURNER OAKS DR.                                                             CARY               NC    27519
   RABINDRA KARKI                                                                      ADDRESS ON FILE
   RAJU BANDUKWALA                                                                     ADDRESS ON FILE
   RAMI AKL                                                                            ADDRESS ON FILE
   RAMI MARJI                                                                          ADDRESS ON FILE
   RANDALL VAYON                                                                       ADDRESS ON FILE
   RANDALL WHITE                                                                       ADDRESS ON FILE
   RAQUEL R. SCHRICK                                                                   ADDRESS ON FILE
   RAVELLE WOMBLE                                                                      ADDRESS ON FILE
   RAYMOND DESENA                                                                      ADDRESS ON FILE
   RAYMOND GONZALES                                                                    ADDRESS ON FILE
   RD BOOKKEEPING SOLUTIONS LLC           ATTN: ROBERT DOUANGMALA                      40 WILBUR AVE                                                                   WOONSOCKET         RI    02895
   RE TAX LLC                             ATTN: REINY PAULINO                          34-62 JUNCTION BOULEVARD                                                        JACKSON HEIGHTS    NY    11372
   REA MARTINEZ-MALO                                                                   ADDRESS ON FILE
   REA T MARTINEZ & MARIO URGILES         ATTN: REA MARTINEZ-MALO                      8226 GRIFFIN ROAD                                                               DAVIE              FL    33328
   RED LOCK LLC                           ATTN: DAVID WINIARCZYK                       8565 W SAHARA AVE STE 112                                                       LAS VEGAS          NV    891171869
   RED WOLF FINANCIAL LLC                 ATTN: WILL SUMPTER                           1515 BERWICK RD.                                                                WINSTON SALEM      NC    27103
   REDDING & JONES LLC                    ATTN: ERIC REDDING                           4046 BROOKSIDE PARKWAY                                                          DECATUR            GA    30034
   REDMOND AND ASSOCIATES LLC             ATTN: DENITA REDMOND                         18661 LANCASHIRE ST                                                             DETROIT            MI    48223
   REENIS HOLDINGS LLC                    ATTN: RENE ISUK                              10019 TOLEDO DRIVE N                                                            MINNEAPOLIS        MN    55443
   REGAL VENTURES LLC                     ATTN: SHERREE KNOX                           8408 WHITESBURG DR B                                                            HUNTSVILLE         AL    35802
   RELIABLE TAX SERVICE LLC               ATTN: KAREN TRECO                            10057 KEY LIME DRIVE                                                            VENICE             FL    34292
   RENE LABRADO                                                                        ADDRESS ON FILE
   RENEE ENTERPRISES LLC                  ATTN: TONYA BROWN                            5055 COOK RD                                                                    BLOOMFIELD         OH    43103
   RENEE MANCUSO                                                                       ADDRESS ON FILE
   RENSHAW ENTERPRISE LLC                 ATTN: ROBERT RENSHAW                         337 SHERMAN AVENUE                                                              COUNCIL BLUFFS     IA    51503
   REUSE                                  ATTN: LEGAL DEPT                             123 ANYWHERE ST                                                                 CITY               ON    A1A1A1      CANADA
   REY AND JACKIE FULGENCIO                                                            ADDRESS ON FILE
   RGV TAXPERTS LLC                       ATTN: KAMLESH BHAKTA                         258 S SAM HOUSTON BLVD                                                          SAN BENITO         TX    78586
   RHINES BROTHERS LLC.                   ATTN: WILLIAM RHINES                         1280 MAIN STREET                                                                WORCESTER          MA    01603
   RHINES FINANCIAL LLC                   ATTN: EILEEN RHINES                          295 BUNKER DR                                                                   HANOVER TOWNSHIP   PA    18706
   RHINES FINANCIAL LLC                   ATTN: WILLIAM H. RHINES                      1280 MAIN STREET                                                                WORCESTER          MA    01603
   RHINO EAGLE VENTURE INC                ATTN: MYOINGA GLASPEY                        2177 KINGSLEY AVENUE SUITE 7                                                    ORANGE PARK        FL    32073
   RHINO TAX LLC                          ATTN: WILLIAM RHINES                         1280 MAIN STREET                                                                WORCESTER          MA    01603
   RICHARD AGUILAR AND JAVIER LERMA                                                    ADDRESS ON FILE
   RICHARD CHEONG                                                                      ADDRESS ON FILE
   RICHARD HANVIRIYAPUNT                                                               ADDRESS ON FILE
   RICHARD J. DAVIDSON                                                                 ADDRESS ON FILE
   RICHARD KALBFLEISCH                                                                 ADDRESS ON FILE
   RICHARD KLENE                                                                       ADDRESS ON FILE
   RICHARD MCCALL                                                                      ADDRESS ON FILE
   RICHARD SHANBOUR                                                                    ADDRESS ON FILE
   RICHARDSON ISD ET AL                   C/O PERDUE BRANDON FIELDER ET AL             500 E BORDER STREET SUITE 640                    ATTN: EBONEY COBB              ARLINGTON          TX    76010
   RICHEY HEALTH SOLUTIONS LLC            ATTN: RANDAL RICHEY                          37119 COUNTY STREET 2700                                                        ANADARKO           OK    73005
   RICKEY HENKES                                                                       ADDRESS ON FILE
   RIMA USANOVA                                                                        ADDRESS ON FILE
   RIZWANA HAIDER & MIFRAH BATOOL         ATTN: R. HAIDER & M. BATOOL                  2949 LAKE SHORE BLVD WEST                                                       ETOBICOKE          ON    M8V1J5      CANADA
                                                                                                                                        CHRISTOPHER DAVIS & DESTINEE
   ROAD KING DEVELOPMENT INC.             DAVIS LAW PLC                                555 BELAIRE AVENUE SUITE 340                     BYERS                          CHESAPEAKE         VA    23320
   ROBDAR INC.                            ATTN: ROBERT HUBER                           11221 MORGAN DR                                                                 LAVON              TX    75166
   ROBERT & HEATHER RADFORD                                                            ADDRESS ON FILE


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                           Name                               Attention                                    Address 1                                Address 2                       City   State      Zip      Country
   ROBERT & JAMES METZGER                                                               ADDRESS ON FILE
   ROBERT ANDERSON                                                                      ADDRESS ON FILE
   ROBERT BOYER                                                                         ADDRESS ON FILE
   ROBERT BYRNE & DAVID RUYLE JR.                                                       ADDRESS ON FILE
   ROBERT DOWNUM                                                                        ADDRESS ON FILE
   ROBERT GAY                                                                           ADDRESS ON FILE
   ROBERT KELLY & ASSOCIATES LLC          ATTN: ROBERT KELLY                            4 KILLENS POND COURT                                                            NEWARK             DE      197114125
   ROBERT MATTICE'S ACCOUNTING & TAX      ATTN: ROBERT MATTICE                          4303 -ONE HALF- BELMONT DR.                                                     LIVERPOOL          NY      13090
   ROBERT MCCOY                                                                         ADDRESS ON FILE
   ROBERT MEDLEY                                                                        ADDRESS ON FILE
   ROBERT STEPHEN GOODMAN                                                               ADDRESS ON FILE
   ROBERT YOAKUM JR                                                                     ADDRESS ON FILE
   ROBERTO NESPEREIRA                                                                   ADDRESS ON FILE
   ROBIN WININGER                                                                       ADDRESS ON FILE
   ROSEMARY TRUJILLO                                                                    ADDRESS ON FILE
   ROSY CURIEL                                                                          ADDRESS ON FILE
   ROWAN SOLUTIONS INC.                   ATTN: THOMAS ROWAN                            5080 MONTEVERDE LN                                                              LINCOLN            CA      95648
   ROY AND MARY COUCH                                                                   ADDRESS ON FILE
   ROY BRISPORT                                                                         ADDRESS ON FILE
   RRR TAX LLC                            ATTN: WILLIAM RHINES                          1280 MAIN ST.                                                                   WORCESTER          MA      01603
   RTA REAL ESTATE INVESTMENTS LLC        ATTN: TONY ANDERSON                           6759 MEADOW FARM DR.                                                            WEST VALLEY CITY   UT      84128
   RTA TAX SERVICE LLC                    ATTN: RAYMOND ALEXANDER                       311 FRANCIS ST                                                                  BAKERSFIELD        CA      93308
   RUNNELS FINANCIAL SERVICES LLC         ATTN: MARK RUNNELS                            4205 ADDINGTON PLACE                                                            FLOWER MOUND       TX      75028
   RUTH DEJONGE                                                                         ADDRESS ON FILE
   S & A TAX SERVICE INC                  ATTN: MOHAMMED SALAM                          1131 WHITE PLAINS RD.                                                           BRONX              NY      10472
   S AND P ACCOUNTING SERVICES LLC        ATTN: AMY POPE                                798 HICKORY WOODS DRIVE                                                         UNION              MO      63084
   S&R SERVICES LLC                       ATTN: RAJESH SAPKOTA                          12102 DELWOOD TERRACE DR                                                        HUMBLE             TX      77346
   S. PRASAD HOLDINGS LTD.                ATTN: LEGAL DEPT                              13424 72 AVE                                                                    SURREY             BC      V3W2N8      CANADA
   SAAD SULTAN                                                                          ADDRESS ON FILE
   SAIFUR CHOUDHURY                                                                     ADDRESS ON FILE
   SAJA MAHDI                                                                           ADDRESS ON FILE
   SALAI T. HNIN                                                                        ADDRESS ON FILE
   SALEM FINANCIAL CONSULTANT INC.        ATTN: MAHDI SALEM                             7600 S PULASKI RD                                                               CHICAGO            IL      60652
   SALES SUPPORT                          ATTN: SALES SUPPORT                           1716 CORPORATE LANDING BLV                                                      VIRGINIA BEACH     VA      23454
   SAM ROBERSON                                                                         ADDRESS ON FILE
   SAMUEL RANDOLPH                                                                      ADDRESS ON FILE
   SAMUEL TROTMAN JR. AND CYNTHIA WARD                                                  ADDRESS ON FILE
   SANA MEGHANI                                                                         ADDRESS ON FILE
   SANA MEGHANI & SALMAN VIRANI                                                         ADDRESS ON FILE
   SANDRA COMPHER                                                                       ADDRESS ON FILE
   SANDRA HERNANDEZ                                                                     ADDRESS ON FILE
   SANDY SHANNON                                                                        ADDRESS ON FILE
   SANJAY PAREKH                                                                        ADDRESS ON FILE
   SANJEET KUMAR                                                                        ADDRESS ON FILE
   SANS PAREIL INC                        ATTN: SHERMIN JASANI                          2862 LENOX RD NE 740                                                            ATLANTA            GA      30324
   SANS PAREIL INC.                       ATTN: SHERMIN JASANI                          2862 LENOX RD 740                                                               ATLANTA            GA      30324
   SANTOSH SHARMA                                                                       ADDRESS ON FILE
   SAPPHIRE TAX SERVICES LLC              ATTN: ERIN KEENAN                             7801 SERENA LN                                                                  PETERSBURG         VA      23803
   SAQIB TASNEEM                                                                        ADDRESS ON FILE
   SARAH DALTON RATHBONE                                                                ADDRESS ON FILE
   SARAH MCKEE AND CARL CURRY                                                           ADDRESS ON FILE
   SARKAUSKAS EMPIRE INC.                 CALIHAN LAW PLLC                              16 E MAIN ST 620 REYNOLDS ARCADE BG              ROBERT B. CALIHAN              ROCHESTER          NY      14614
                                                                                                                                         CHRISTOPHER DAVIS & DESTINEE
   SARKAUSKAS EMPIRE INC.                 DAVIS LAW PLC                                 555 BELAIRE AVENUE SUITE 340                     BYERS                          CHESAPEAKE         VA      23320
   SARKAUSKAS ENTERPRISES LLC             CALIHAN LAW PLLC                              16 E MAIN ST 620 REYNOLDS ARCADE BG              ROBERT B. CALIHAN              ROCHESTER          NY      14614
                                                                                                                                         CHRISTOPHER DAVIS & DESTINEE
   SARKAUSKAS ENTERPRISES LLC             DAVIS LAW PLC                                 555 BELAIRE AVENUE SUITE 340                     BYERS                          CHESAPEAKE         VA      23320
   SARWAR LLC                             ATTN: JAHANZAIB SARWAR                        1818 ROSEHALL WAY                                                               SACRAMENTO         CA      95832
   SCB LLC                                ATTN: SEAN BOWEN                              625 E WETMORE RD STE F 101                                                      TUCSON             AZ      85705
   SCOTT BURKE                                                                          ADDRESS ON FILE
   SCOTT ROTH                                                                           ADDRESS ON FILE
   SD TAX INC.                            ATTN: STEVEN DEMEDEIROS                       6 BOSS ROAD                                                                     FOSTER             RI      02825
   SD VENTURES LLC                        ATTN: DONALD MCGLONE                          26201 GRATIOT AVE                                                               ROSEVILLE          MI      48066
   SEAN GALVIN                                                                          ADDRESS ON FILE
   SEJ FINANCIALS LLC                     ATTN: SHELBY JONES                            403 ROSENBERGER DRIVE                                                           MIDDLETOWN         DE      19709
   SENTRY INVESTMENTS INC                 ATTN: CREIGHTON THURMAN                       107 CATALINA AVENUE                                                             VERMILLION         SD      57069
   SEZ TAX INC.                           ATTN: ZAMAN FEROZ                             49648 ANNANDALE DR                                                              CANTON             MI      48187
   SGM CAPITAL LLC                        ATTN: STAN MALISZEWSKI                        22 HARDING RD                                                                   FREEHOLD           NJ      07728
   SHAHBAZ HUSSAIN                                                                      ADDRESS ON FILE
   SHAKEEL AHMAD                                                                        ADDRESS ON FILE
   SHAMA TAX SERVICES INC.                ATTN: SALMAN AWAN                             318 VERONICA CIRCLE                                                             BARTLETT           IL      60103

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                          Name                                  Attention                                   Address 1                                 Address 2                    City    State      Zip    Country
   SHANDREEKA BLOUNT                                                                      ADDRESS ON FILE
   SHARON MEDINA                                                                          ADDRESS ON FILE
   SHAWN INCOME TAX LLC                   ATTN: SHELBY PHILIP                             703 EAST LNDIS AVE                                                            VINELAND           NJ      08360
   SHAWN VADNAIS                                                                          ADDRESS ON FILE
   SHEENA RETNAM SIMON                                                                    ADDRESS ON FILE
   SHEILA AND DENNIS SMITH                                                                ADDRESS ON FILE
   SHELDON H. JAFFE DEPUTY AG             CALIFORNIA DEPARTMENT OF JUSTICE                455 GOLDEN GATE AVE. SUITE 11000                                              SAN FRANCISCO      CA      94102
   SHELDON TAX & ACCOUNTING INC.          ATTN: MATTHEW SHELDON                           37872 VAN DYKE                                                                STERLING HEIGHTS   MI      48312
   SHELLY BARRETT                                                                         ADDRESS ON FILE
   SHERRI A. MORGAN                                                                       ADDRESS ON FILE
   SHERRY L. DUNCAN                                                                       ADDRESS ON FILE
   SHERRY M. KELLY                                                                        ADDRESS ON FILE
   SHIRLEGHTA GIVAN                                                                       ADDRESS ON FILE
   SHNICKQUA AIKEN                                                                        ADDRESS ON FILE
   SHOSHANA ELETU                                                                         ADDRESS ON FILE
   SIEMPRE COSTORES                       ATTN: WEFILE INC                                1716 CORPORATE LANDING PARKWAY                                                VIRGINIA BEACH     VA      23454
   SIENNA FINANCIAL SERVICES LLC          ATTN: CRAIG BRYANT                              2734 TAYLORCREST                                                              MISSOURI CITY      TX      77459
   SIMRANJOT BACHAL & JESSICA DHILLON                                                     ADDRESS ON FILE
   SIRIUS BUSINESS L.L.C.                 ATTN: CEDRIC RICHARDSON                         8362 PINES BLVD 320                                                           HOLLYWOOD          FL      33024
   SISMAS GROUP AND POLYMORPHIC INC.      FOSTER SULTANYAN & EUREDJIAN LLP                5429 CAHUENGA BLVD.                              DAVID R. EUREDJIAN           NORTH HOLLYWOOD    CA      91601
   SISMAS GROUP INC. DBA POLYMORPHIC      FOSTER SULTANYAN & EUREDJIAN LLP                DAVID R. EUREDJIAN                               5429 CAHUENGA BLVD           NORTH HOLLYWOOD    CA      91601
   SIVONNEY MOLINA                                                                        ADDRESS ON FILE
   SIXPAC INC.                            ATTN: MARK WAJSWOL                              7500 W GRAND AVE SUITE 120                                                    GURNEE             IL      60031
   SJS FINANCIAL LLC                      ATTN: SCOTT ZMUDZINSKI                          5617 S SWIFT AV                                                               CUDAHY             WI      53110
   SKH HOLDINGS LLC                       ATTN: TAMMY KAY HASTINGS                        501 TAYRN DR.                                                                 CHARLESTON         SC      29492
   SLACUM & DOYLE TAX SERVICES LLC        ATTN: DOUGLAS DOYLE                             16 TAM O'SHANTER CT.                                                          DOVER              DE      19904
   SLT SERVICES LLC                       ATTN: ANNETTE HALL                              1127 SAN GABRIEL AVE                                                          HENDERSON          NV      89002
   SMART TAXES LLC                        ATTN: BRANDY ARMSTRONG                          2470 FM 1844                                                                  LONGVIEW           TX      75605
   SOFIA AGUILAR                                                                          ADDRESS ON FILE
   SOJ TAX LLC                            ATTN: HENRY LARANCE                             2200 N OBENCHAIN RD                                                           EAGLE POINT        OR      97524
   SOUTH JERSEY BUSINESS VENTURES LLC     ATTN: JASON MANSELL                             242 HURFVILLE GRENLOCH ROAD                                                   SEWELL             NJ      08080
   SOUTHBRIDGE TAX LLC                    ATTN: WILLIAM RHINES IV                         1280 MAIN STREET                                                              WORCESTER          MA      01603
   SOUTHWEST TEXAS TAX SERVICE            ATTN: JEAN-FRANCOIS MEYRAT                      1102 N MEADOW                                                                 LAREDO             TX      78040
   SPARTAN MARKETING INC                  ATTN: DAVID SCHUCK                              2638 WILLARD DAIRY ROAD SUITE 104                                             HIGH POINT         NC      27265
   SPICES INCORPORATED                    ATTN: BRUCE PATRONO                             20 ARIANNE CT.                                                                GREENWOOD LAKE     NY      10925
   SPOKANE EXPANSION LLC                  ATTN: MARK MAHAFFEY                             515 E MIDWAY ROAD                                                             COLBERT            WA      99005
   SSBR ENTERPRISES LLC                   ATTN: SHAVI SANDHU                              1785 HASTINGS WAY                                                             YUBA CITY          CA      95991
   STACY GOFORTH                                                                          ADDRESS ON FILE
   STELLA CARPENTER                                                                       ADDRESS ON FILE
   STEPHANIE LANE                                                                         ADDRESS ON FILE
   STEPHANIE SOARES LISA AIROSO-SHIER                                                     ADDRESS ON FILE
   STEPHANIE STEWARD                                                                      ADDRESS ON FILE
   STEPHANIE TRUAX                                                                        ADDRESS ON FILE
   STEVEN KOZIOL & BARRY STRAUSS                                                          ADDRESS ON FILE
   SUCKUT FINANCIAL SERVICES CORP         ATTN: GERALD SUCKUT                             791 EISENHOWER WAY                                                            SIMI VALLEY        CA      93065
   SUMMIT QUEST INC.                      ATTN: PAMELA MCKINNEY                           3433 E GULF TO LAKE HWY                                                       INVERNESS          FL      34453
   SUN WEST INC                           ATTN: JOHN MOEN                                 920A KENNEDY DRIVE                                                            KEY WEST           FL      33040
   SUNRISE PROFESSIONAL SERVICES LLC      ATTN: MANUEL FRANCO                             1052 SILVER STAR ST                                                           HENDERSON          NV      89002
   SUPARIWALA FINANCIALS LLC              ATTN: ALIAKBARALI SUPARIWALA                    5760 PRESERVE CIRCLE                                                          ALPHARETTA         GA      30005
   SURESH ACHARYA                                                                         ADDRESS ON FILE
   SURYA INVESTMENT GROUP LLC             ATTN: RABIN KARKI                               1328 LEGENDARY LANE                                                           MORRISVILLE        NC      27560
   SUSAN B. WALLACE                                                                       ADDRESS ON FILE
   SUSAN WARD                                                                             ADDRESS ON FILE
   SUSANNA M. MULLER                                                                      ADDRESS ON FILE
   SUZANNE PRICE                                                                          ADDRESS ON FILE
   SYED F. EKRAM                                                                          ADDRESS ON FILE
   T&C TAX SERVICES LLC                   ATTN: THOMAS AMES                               1089 MEDFORD CENTER                                                           MEDFORD            OR      97504
   TAD MILLER                                                                             ADDRESS ON FILE
   TALLEY ENTERPRISES INC                 ATTN: LORRAINE HARMON                           2960 N.HAYDEN RD                                                              SCOTTSDALE         AZ      85251
   TAMI VARRICCHIO                                                                        ADDRESS ON FILE
   TAMI VIGEN INC.                        ATTN: TAMI VIGEN                                6848 SUNNYSIDE DR.                                                            HORACE             ND      58047
   TAMMY GURRERA                                                                          ADDRESS ON FILE
   TAMMY SILCOX                                                                           ADDRESS ON FILE
   TARKINGTON FINANCIAL INC.              ATTN: KURT TARKINGTON                           202 S ORLEANS AVE                                                             ORLEANS            NE      68966
   TARRANT COUNTY                         C/O LINEBARGER GOGGAN BLAIR ET AL               2777 N STEMMONS FREEWAY SUITE 1000               ATTN: JOHN KENDRICK TURNER   DALLAS             TX      75207
   TAX ENTERPRISES LLC                    ATTN: TIM CHIU                                  1282 WEYBRIDGE RD.                                                            COLUMBUS           OH      43220
   TAX HEROES LLC                         ATTN: RALPH LOWTHER                             1745 NATHAN DEAN BYP                                                          ROCKMART           GA      30153
   TAX LADY HILLS LLC                     ATTN: DEBORAH HILLS                             1770 LUKE EDWARDS ROAD                                                        DACULA             GA      30019
   TAX PREP & CONSULTING LLC              ATTN: MILAN RAO                                 30 BOULEVARD DR                                                               STOCKBRIDGE        GA      30281
   TAX SERVICE VENTURES LLC               ATTN: EDWARD FOY                                600 BOLL WEEVIL CIRCLE STE 8                                                  ENTERPRISE         AL      36330
   TAX TEAM LLC                           ATTN: LARRY SLAUGHTER                           349 WYCOMBE ROAD                                                              COLUMBIA           SC      29212


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                            Name                             Attention                                     Address 1                               Address 2             City        State     Zip    Country
   TAX TEAM TWO LLC                       ATTN: LARRY SLAUGHTER                        349 WYCOMBE ROAD                                                        COLUMBIA             SC     29212
   TAX TIME TAXES LLC                     ATTN: KRISTY RUBLE                           1024 69TH ST.                                                           WINDSOR HEIGHTS      IA     50324
   TAX WORLD LLC                          ATTN: TRONICA HARRIS                         12560 NEWBROOK DR                                                       HOUSTON              TX     77072
   TAXBIZ PARTNERS LLC                    ATTN: TERRI BRASHEARS                        293 SEABROOK DRIVE                                                      HILTON HEAD ISLAND   SC     29926
   TAXCELLENT SERVICE CORPORATION         ATTN: FARUK ALI                              9 VALENZA LN                                                            BLAUVELT             NY     10913
   TAXMATTERS INC.                        ATTN: KATELYN BROWNING                       850 SOUTHBRIDGE STREET                                                  AUBURN               MA     01501
   TAXOLOGY GROUP LLC                     ATTN: NIKKI SMALL                            1305 TIMBER LN                                                          BUFFALO              MN     55313
   TAXPREP LLC                            ATTN: JASON WILLIAMS                         14401 MAIN ST                                                           WATTSBURG            PA     16442
   TEDDY ARTHUR-KWALLAH                                                                ADDRESS ON FILE
   TEK KOROTANIA                                                                       ADDRESS ON FILE
   TEMEYKA SCOTT                                                                       ADDRESS ON FILE
   TENDRIL HOLDINGS LLC                   ATTN: CLIFFORD DAVIDSON                      363 COLLINWOOD DRIVE                                                    MCMINNVILLE          TN    37110
   TENEDOS HOLDINGS LTD.                  ATTN: LEGAL DEPT                             119-829 GOLDSTREAM AVENUE                        SHELBY PARKINSON       VICTORIA             BC    V9B2X8      CANADA
   TERRELL GRAY                                                                        ADDRESS ON FILE
   THAKUR NEUPANE                                                                      ADDRESS ON FILE
   THE FAR ROCK INC.                      ATTN: JOEL GEORGE                            37 DALEY ST.                                                            NEW HYDE PARK        NY    11040
   THE GLORIOUS FREEDOM                   ATTN: EBRAM HANNA                            23578 UNDERWOOD CIR                                                     MURRIETA             CA    92562
   THE GUARDIAN GROUP LLC                 ATTN: ROBERT ARNDT                           27824 REO RD.                                                           GROSSE ILE           MI    48138
   THE TAX LADIES SERVICES INC.           ATTN: MARITZA DUDLEY                         200 ADA DR PH                                                           STATEN ISLAND        NY    10314
   THOMAS ACKERMAN                                                                     ADDRESS ON FILE
   THOMAS HENGGELER ENTERPRISES LLC       ATTN: THOMAS HENGGELER                       5304 NE BARRY RD                                                        KANSAS CITY          MO    641561223
   THOMAS JAROSICK                                                                     ADDRESS ON FILE
   THOMAS ROYER                                                                        ADDRESS ON FILE
   THOMAS STEELE                                                                       ADDRESS ON FILE
   THOMPSON FINANCIAL SERVICES INC        ATTN: BRUCE THOMPSON                         1701 DISCOVERY DR                                                       WENTZVILLE           MO    63385
   THOMPSON TAX BUSINESS LLC              ATTN: MICHAEL THOMPSON                       100 BANKS AVENUE APT1236                                                ROCKVILLE CENTRE     NY    11570
   TIANDRA PURYEAR                                                                     ADDRESS ON FILE
   TIFFANY T. BRADY                                                                    ADDRESS ON FILE
   TILCAM SERVICES GROUP OF TN LLC        ATTN: MARKEE TATE                            220 BALLARD CIRCLE                                                      STOCKBRIDGE          GA    30281
   TIME TO FILE LLC                       ATTN: NICOLLE DYKSTRA                        2803 W IVANHOE ST                                                       CHANDLER             AZ    85224
   TIMOTHY A STRICKLAND                                                                ADDRESS ON FILE
   TIMOTHY A. RICHARDSON                                                               ADDRESS ON FILE
   TINA A. FARMER                                                                      ADDRESS ON FILE
   TINA DAVIS AND ANGELA MAGEE                                                         ADDRESS ON FILE
   TINA M. HILL                                                                        ADDRESS ON FILE
   TK FINANCIAL LLC                       ATTN: THOMAS KELLEY                          205 W HEMPSTEAD AVE                                                     FAIRFIELD            IA    52556
   TL2 ACCOUNTING LLC                     ATTN: TAMARA LEE                             574 HWY 17 N                                                            NORTH MYRTLE BEACH   SC    29582
   TLC ARC LLC                            ATTN: TERESA CHUM                            1353 CASTLE CREEK CIRCLE                                                CASTLE ROCK          CO    80104
   TLC TAX SERVICES INC.                  ATTN: L. KAY COBB                            14207 EAST 38TH ST.                                                     TULSA                OK    74134
   TLT PARTNERS LLC                       ATTN: TRACI DAVIS                            409 MAIN STREET                                                         KERRVILLE            TX    78028
   TM ENTERPRISES OF LINDEN INC.          ATTN: GAIL FLOWERS                           8626 LOOKING GLASS RD.                                                  LINDEN               NC    28356
   TM TAX SERVICES LLC                    ATTN: TEREENA BARNES                         295 N 4300 E                                                            RIGBY                ID    83442
   TMARKJ INC                             ATTN: TERRY JOHNSON                          526 WASHINGTON STREET                                                   BRAINERD             MN    56401
   TMB VENTURES INC.                      ATTN: TRAVIS BAHNSEN                         1921 ELBA COURT                                                         WINDSOR              CO    80550
   TMI TRUST COMPANY                      ATTN: LEGAL DEPT                             101 SUMMIT AVE                                   STE 510                FORT WORTH           TX    76102-
   TODD A. CROMACK                                                                     ADDRESS ON FILE
   TODD DUNLOP                                                                         ADDRESS ON FILE
   TODD MARION                                                                         ADDRESS ON FILE
   TODD STAHL                                                                          ADDRESS ON FILE
   TOMAHAWK PROPERTIES LLC                ATTN: JOHN CROSBY                            72 MARLBOROUGH RD                                                       SHALIMAR             FL    32579
   TOMMY C. CRISLER                                                                    ADDRESS ON FILE
   TOMMY SMITH                                                                         ADDRESS ON FILE
   TONY ALLEN                                                                          ADDRESS ON FILE
   TONYA K. BURRESS                                                                    ADDRESS ON FILE
   TRACY A. HAYES AND JENNIFER HAYES                                                   ADDRESS ON FILE
   TRACY AND WILLIAM HYDE                                                              ADDRESS ON FILE
   TRANSCEND FINANCIAL SERVICE LLC        ATTN: TAMMY BUSH                             3181 S 27TH ST                                                          MILWAUKEE            WI    53215
   TRIDENT FINANCIAL SERVICES LLC         ATTN: WILLIAM RHINES                         282 EAST MAIN ST                                                        MARLBOROUGH          MA    01752
   TRK SERVICES LLC                       ATTN: RAYMOND SEAMAN                         525 N 48TH ST STE 2                                                     LINCOLN              NE    68504
   TROY OWEN                                                                           ADDRESS ON FILE
   TRUDI S. BARR                                                                       ADDRESS ON FILE
   TS FINANCIALS LLC                      ATTN: SAMUEL RENNERT                         3272 N SUMMIT AVE                                                       MILWAUKEE            WI    53211
   TUAN VO                                                                             ADDRESS ON FILE
   TUAN VO                                                                             ADDRESS ON FILE
   TURNER BRENT                                                                        ADDRESS ON FILE
   TYE BROOKS                                                                          ADDRESS ON FILE
   TYESHA JACKSON WISE                                                                 ADDRESS ON FILE
   TYNE SUNDERLAND LLC                    ATTN: STEPHEN MALLOY                         280 JENNINGS WAY                                                        MICKLETON            NJ    08056
   U.S. DEPT OF JUSTICE - TAX DIVISION    RUSSELL J. EDELSTEIN ET AL                   PO BOX 7238 BEN FRANKLIN STATION                                        WASHINGTON           DC    20044
   UK ENTERPRISE LTD                      ATTN: UMESH PATEL                            7236 BRIDE WATER BLVD                                                   COLUMBUS             OH    43235
   UNITED INTEGRITY TAX GROUP LLC         ATTN: KIMBERLY ERVIN                         515 S. WEST END BLVD. SUITE 1                                           QUAKERTOWN           PA    18951


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                           Name                             Attention                                    Address 1                         Address 2             City     State     Zip    Country
   UNITED TAX SERVICES LLC                ATTN: QASIM MUNIR                           49B ROBBINS LANE                                                 ROCKY HILL         CT    06067
   UNIVERSAL INTERPRETERS INC.            ATTN: JASON BROSCHINSKY                     4631 S LOCUST HILLS CT                                           HOLLADAY           UT    84117
   UNIVERSAL SERVICES #13 LLC             ATTN: ANNALISA ESPERICUETA                  35 E SOUTHGATE AVE                                               PHOENIX            AZ    85040
   URMISH PATEL                                                                       ADDRESS ON FILE
   UUB CORP                               ATTN: URATA BLAKAJ                          325 VICTORY BLVD                                                 STATEN ISLAND      NY    10301
   V&A TAX SERVICE LLC                    ATTN: TALIB HUSSAIN                         6 YALE STREET                                                    WEST HARTFORD      CT    06110
   VALERIE ADLER                                                                      ADDRESS ON FILE
   VALSAINT GROUP INC.                    ATTN: EDITH VALSAINT                        221 S. 195TH STREET                                              DES MOINES         WA    98148
   VARGAS HOLDINGS CORP.                  ATTN: ANTONIO VARGAS                        60-63 MYRTLE AVE                                                 RIDGEWOOD          NY    11385
   VERLA K. SMITH                                                                     ADDRESS ON FILE
   VERONICA CAZARES                                                                   ADDRESS ON FILE
   VERONICA MANZO                                                                     ADDRESS ON FILE
   VESS FINANCIAL INCORPORATED            ATTN: LEGAL DEPT                            90 KENTLAND RD                                                   WINNIPEG           MB    R3Y0A4     CANADA
   VFM LLC                                ATTN: SUSAN VATELL                          586 HERITAGE DOWNS DRIVE                                         CONWAY             SC    29526
   VGS TAX & ACCOUNTING SERVICES LLC      ATTN: SAIREKHA VEDAGIRI                     253 TURNER OAKS DR                                               CARY               NC    27519
   VICTORIA HOTOBAH-DURING                                                            ADDRESS ON FILE
   VIKKIELEA CHOROSKI                                                                 ADDRESS ON FILE
   VIKRAMDEEP RANDHAWA                                                                ADDRESS ON FILE
   VINCENT FERRARA                                                                    ADDRESS ON FILE
   VOLUSIA TAX FILERS LLC                 ATTN: TROY THOMAS                           1179 PACIFIC DUNES COURT                                         DAYTONA BEACH      FL    32124
   WA GROUP INC                           ATTN: EDWARD WILKINS                        20500 S. LAGRANGE RD. UT. 3                                      FRANKFORT          IL    60423
   WAHEGURU JI TAX LLC                    ATTN: SURINDERPAL CHAWLA                    270 MAIN ST                                                      STAMFORD           CT    06901
   WAHEGURU TAX NEW BRITAIN LLC           ATTN: MANINDER ARORA                        302 MAIN ST                                                      NEW BRITAIN        CT    06051
   WALKER INTOWN RENEWAL LLC              ATTN: ARBIE WALKER CONNOR                   209 S. ROYAL OAKS SUITE 270                                      FRANKLIN           TN    37064
   WALNUT CREEK ENTERPRISES LLC           ATTN: MARK HOLLIS                           9924 HEATHER RIDGE TRL                                           FRISCO             TX    75033
   WARSAN FINANCIAL SERVICES INC.         ATTN: LEGAL DEPT                            1978 WESTON RD                                                   TORONTO            ON    M9N1W2     CANADA
   WAYNE & TAMMY MCCARTNEY                ATTN: WAYNE & TAMMY MCCARTNEY               285A GEORGE STREET NORTH                                         PETERBOROUGH       ON    K9J3H3     CANADA
   WB FINANCIAL MANAGEMENT LLC            ATTN: WILLIAM BOARDMAN                      6708 ARROW HILL ST                                               NORTH LAS VEGAS    NV    89084
   WD TAXES LLC                           ATTN: WILLIAM DOYLE                         2155 REED GRASS WAY                                              COLORADO SPRINGS   CO    80915
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   WEIS GROUP LLC                         ATTN: RICHARD WEISENBERG                    2932 E PARK AVE                                                  GILBERT            AZ    85234
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   WENDY RHODES                                                                       ADDRESS ON FILE
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   WHITNEY A. JUSTICE                                                                 ADDRESS ON FILE
   WHITTIER ADVISORY GROUP INC            ATTN: NANCY HOWARD                          43 WHITTIER ROAD                                                 BILLERICA          MA    01821
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   WILLIAM ALLEN                                                                      ADDRESS ON FILE
   WILLIAM BAKKEBY                                                                    ADDRESS ON FILE
   WILLIAM DANIELS                                                                    ADDRESS ON FILE
   WILLIAM E. LEE                                                                     ADDRESS ON FILE
   WILLIAM HOLLIDAY                                                                   ADDRESS ON FILE
   WILLIAM SHAHIN                                                                     ADDRESS ON FILE
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   WYATT & KENDALL LLC                    ATTN: WILLIAM HIGGINS                       2081 E MAIN STREET                                               SPRINGFIELD        OH    45503
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